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 7

 8                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
 9

10
     QU JINGHUA and YAU NOI, Individually and          Case No. 3:23-cv-01811-AMO
11   on Behalf of All Others Similarly Situated,

12                                  Plaintiffs,        CLASS ACTION
13                             v.                      CONSOLIDATED AMENDED
14                                                     COMPLAINT FOR VIOLATIONS OF
     ALLBIRDS, INC., JOSEPH ZWILLINGER,                FEDERAL SECURITIES LAWS
15   TIMOTHY BROWN, MICHAEL BUFANO,
     NEIL BLUMENTHAL, DICK BOYCE,                      DEMAND FOR JURY TRIAL
16   MANDY FIELDS, NANCY GREEN, DAN
     LEVITAN, EMILY WEISS, MORGAN
17   STANLEY & CO. LLC, J.P. MORGAN
     SECURITIES LLC, BOFA SECURITIES,
18   INC., ROBERT W. BAIRD & CO., WILLIAM
     BLAIR & COMPANY, L.L.C, PIPER
19
     SANDLER & CO., COWEN AND
20   COMPANY, LLC, GUGGENHEIM
     SECURITIES, LLC, KEYBANC CAPITAL
21   MARKETS INC., STIFEL, NICOLAUS &
     COMPANY, INCORPORATED, TELSEY
22   ADVISORY GROUP LLC, C.L. KING &
     ASSOCIATES, INC., DREXEL HAMILTON,
23   LLC, LOOP CAPITAL MARKETS LLC,
     PENSERRA SECURITIES LLC, SAMUEL A.
24   RAMIREZ & COMPANY, INC., and SIEBERT
     WILLIAMS SHANK & CO. LLC
25

26                                  Defendants.

27

28
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 1          Lead Plaintiffs Qu Jinghua and Yau Noi (“Plaintiffs”), individually and on behalf of all

 2   others similarly situated, by and through Plaintiffs’ attorneys, allege the following upon
 3
     information and belief, except as to those allegations concerning Plaintiffs, which are alleged upon
 4
     personal knowledge. Plaintiffs’ information and belief is based upon, inter alia, the investigation
 5
     by Plaintiffs’ counsel, which includes without limitation: (a) review and analysis of regulatory
 6
     filings made by Allbirds, Inc. (“Allbirds” or the “Company”) with the United States (“U.S.”)
 7

 8   Securities and Exchange Commission (“SEC”); (b) review and analysis of press releases and media

 9   reports issued and disseminated by Allbirds; and (c) review of other publicly available information
10   concerning Allbirds.
11
                                      NATURE OF THE ACTION
12
            1.      This is a class action on behalf of persons and entities that purchased or otherwise
13
     acquired: (a) Allbirds Class A common stock pursuant and/or traceable to the registration
14

15   statement and prospectus (collectively, the “Registration Statement”) issued in connection with

16   the Company’s November 2021 initial public offering (“IPO” or the “Offering”); and/or (b)

17   Allbirds securities between November 4, 2021 and March 9, 2023, inclusive (the “Class Period”).
18   Plaintiffs pursue claims against Defendants under the Securities Act of 1933 (“Securities Act”)
19
     and the Securities Exchange Act of 1934 (“Exchange Act”).
20
            2.      Co-Chief Executive Officer (“CEO”) Defendants Joseph Zwillinger (“Zwillinger”)
21
     and Timothy Brown (“Brown”) co-founded Allbirds in 2015. Allbirds describes itself as a “global
22

23   lifestyle brand that innovates with naturally derived materials to make better footwear and apparel

24   products in a better way, while treading lighter on our planet.” As recently as the Company’s 2022

25   10-K filed on March 10, 2023, the Company has made clear, however, that “footwear represents
26
     the vast majority of our revenue and is the foundation of our brand.” Allbirds’ core products
27

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 1   include lifestyle and performance shoes, such as the Wool Runner, the Tree Runner, and the

 2   Dasher, which the Company successfully launched in 2016, 2018, and 2020 respectively. With its
 3
     focus on these core products, Allbirds enjoyed tremendous growth as a direct to consumer
 4
     company, and pushed forward toward an IPO. On November 4, 2021, the Company filed its
 5
     prospectus on Form 424B4 with the SEC, which forms part of the Registration Statement. In the
 6
     IPO, the Company sold approximately 16,850,799 shares of Class A common stock at a price of
 7

 8   $15.00 per share, and received proceeds of approximately $237 million from the Offering, net of

 9   underwriting discounts and commissions.
10            3.       As the Company’s IPO loomed, and in the years that followed, the Company’s
11   co-founders made significant missteps by shifting Allbirds’ business strategy in three
12   fundamental ways.          First, Allbirds tried to expand too quickly by overinvesting in and
13   overemphasizing new products that did not resonate with consumers, including apparel which
14   had quality and fit issues, while underinvesting in its core footwear products and shifting focus
15   away from its core consumer. Second, Allbirds pursued an aggressive pace of store openings
16   even while its existing stores struggled to attain profitability, and did not slow down that pace
17   despite the dismal performance of its stores’ due to their inability to sell the new product
18   offerings, and despite market saturation and “cannibalization” where new stores opened in close
19   proximity to existing stores. Third, though publicly acknowledging throughout its existence that
20   the “Allbirds brand is integral to our business strategy and our ability to attract and engage
21   customers,” the Company slashed its brand marketing budget by half every year beginning in
22   2019, abandoning its commitment to growing brand awareness. These material internal missteps
23   continued throughout the Class Period, unbeknownst to investors.
24            4.       This hidden reality did not match Defendants’1 public statements, both in the
25   Registration Statement at the time of its IPO, and then during the Class Period in press releases,
26
     1
27    The precise Defendants that issued each misleading statement and that are the subject of each distinct claim asserted
     herein are delineated in detail below.
28                                              2
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 1   Forms 10-Q and 10-K, and on quarterly earnings calls with analysts. Specifically, Defendants

 2   represented that they were “continuously seeking ways to engage” with Allbirds’ core

 3   consumers, claimed that its “high quality” and “high performance” new products appealed to its

 4   existing consumers and had a strong customer response, and stated that the Company continued

 5   to focus and capitalize on core designs. Defendants also touted their increasing retail store fleet,

 6   citing historical profitability as a strong predictor of new stores’ success, and claiming their stores

 7   had strong economics and strong returns. Finally, Defendants emphasized their continued focus

 8   on building and expanding brand awareness through brand marketing campaigns.

 9           5.      These false and misleading statements in the Registration Statement and in filings

10   thereafter throughout the Class Period misled investors because: (i) Allbirds was overemphasizing
11
     and overinvesting in new products, including apparel, that extended beyond the Company’s core
12
     offerings; (ii) the Company’s non-core products had a narrower appeal and did not resonate with
13
     customers as well as the Company’s core products; (iii) Allbirds was underinvesting in its core
14
     consumers’ favorite products to push the Company’s newer products with narrower appeal; (iv)
15

16   underinvesting in Allbirds’ core products was negatively impacting the Company’s sales; (v) the

17   Company pursued an aggressive pace of store opening though its existing stores struggled and
18   though new stores failed to attain profitability due to ill-received product offerings, market
19
     saturation, and cannibalization; (vi) Allbirds’ retail stores had significant inventory issues
20
     including insufficient inventory of core products that customers wanted and excess inventory of
21
     new products that did not resonate with consumers, and thus did not sell; (vii) that the Company
22

23   shifted its marketing strategy toward performance marketing at the expense of brand marketing

24   despite the significance of brand awareness to its success; and (viii) that, as a result of the

25   foregoing, Defendants’ positive statements about the Company’s business, operations, and
26   prospects were materially misleading and/or lacked a reasonable basis.
27

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 1           6.      Defendants Zwillinger, Brown, and Chief Financial Officer (“CFO”), Michael

 2   Bufano (“Bufano”), attended multiple monthly meetings throughout the Class Period, described
 3
     below, geared toward inter alia sales and operations, apparel, marketing and real estate, during
 4
     which issues with the new product offerings (including problems with quality and fit as well as
 5
     excessive inventory levels because the products did not resonate with consumers and thus did not
 6
     sell well), “dismal” results from the aggressively expanding retail store fleet which were
 7

 8   “hemorrhaging money,” and the lopsided marketing budget following severe cuts to brand

 9   marketing, were extensively discussed. Nevertheless, Defendants continued to issue false and
10   misleading statements relevant to each of these issues, without divulging the seismic and disastrous
11
     shift in their business strategies.
12
             7.      On March 9, 2023, after the market closed, Allbirds issued a press release reporting
13
     fourth quarter and full year 2022 financial results (the “4Q22 Press Release”), which revealed,
14

15   among other things, a full year 2022 net loss of $101.4 million, a fourth quarter net loss of $24.9

16   million, a 13% decrease in net revenue as compared to the fourth quarter of 2021, a full year 2022

17   adjusted EBITDA loss of $60.4 million, and a fourth quarter 2022 adjusted EBITDA loss of $12.5
18   million that included “a $3.5 million loss primarily associated with the previously announced
19
     discontinuation of certain first-generation apparel.” In the press release, Allbirds conceded that to
20
     turn things around it needed to “execut[e] a highly focused brand strategy that reconnects with
21
     core consumers” and “slow [the] pace of [store] openings.”
22

23           8.      Also on March 9, 2023, after the market closed, Allbirds announced that Defendant

24   Bufano was stepping down.

25           9.      The Company held an earnings call with analysts the same day to discuss the
26
     disappointing results. On the call, Defendant Zwillinger admitted that, for at least two years, the
27

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 1   Company had “made some strategic and executional missteps that impacted results,” which

 2   included that Allbirds: 1) “overemphasized products that extended beyond our core DNA;” 2)
 3
     “were spending significant time and resources on these new products that did not resonate well;”
 4
     3) “overinvested in seasonal trend colors and new silhouettes;” 4) “underinvested in our core
 5
     consumers’ favorite products,” 5) “shifted our focus away from our core consumer;” 6) “did not
 6
     increase our brand awareness,” and 7) opened stores too aggressively and thus needed to “slow[]
 7

 8   the pace of new store openings.”

 9          10.     On this news, the Company’s stock price fell $1.11, or 47%, to close at $1.25 per
10   share on March 10, 2023, thereby injuring investors.
11
            11.     On May 4, 2023, the Company announced amidst a series of layoffs that Defendant
12
     Brown would step down as co-CEO effective immediately, and would transition into the position
13
     of Chief Innovation Officer, a non-executive role.
14

15          12.     By the commencement of this action, the Company’s stock price had closed as low

16   as $1.06 per share, a 92.9% decline from the Company’s $15.00 per share IPO price.

17          13.     As a result of Defendants’ wrongful acts and omissions, and the precipitous decline
18   in the market value of the Company’s securities, Plaintiffs and other Class members have suffered
19
     significant losses and damages.
20
                                    JURISDICTION AND VENUE
21
            14.     The claims asserted herein arise under and pursuant to Sections 11 and 15 of the
22

23   Securities Act (15 U.S.C. §§ 77k and 77o), Sections 10(b) and 20(a) of the Exchange Act (15

24   U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §

25   240.10b-5).
26
27

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 1           15.         This Court has jurisdiction over the subject matter of this action pursuant to 28

 2   U.S.C. § 1331, Section 22 of the Securities Act (15 U.S.C. § 77v), and Section 27 of the Exchange
 3
     Act (15 U.S.C. § 78aa).
 4
             16.         Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section
 5
     27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud
 6
     or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,
 7

 8   including the dissemination of materially false and/or misleading information, occurred in

 9   substantial part in this Judicial District. In addition, the Company’s principal executive offices are
10   in this District.
11
             17.         In connection with the acts, transactions, and conduct alleged herein, Defendants
12
     directly and indirectly used the means and instrumentalities of interstate commerce, including the
13
     U.S. mail, interstate telephone communications, and the facilities of a national securities exchange.
14

15                                                   PARTIES

16           18.         Plaintiffs, as set forth in the certifications that accompanied their Lead Plaintiff

17   motion, incorporated by reference herein, purchased or otherwise acquired Allbirds common stock
18   pursuant and/or traceable to the Registration Statement issued in connection with the Company’s
19
     IPO and/or Allbirds securities during the Class Period, and suffered damages as a result of the
20
     federal securities law violations and false and/or misleading statements and/or material omissions
21
     alleged herein.
22

23           19.         Defendant Allbirds is incorporated under the laws of Delaware with its principal

24   executive offices located in San Francisco, California. Allbirds’ shares trade on the NASDAQ

25   stock market under the symbol “BIRD.”
26
27

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 1          20.        Defendant Zwillinger was, at all relevant times, a Co-CEO and a Director of the

 2   Company. Zwillinger signed or authorized the signing of the Company’s Registration Statement
 3
     filed with the SEC.
 4
            21.        Defendant Brown was, at all relevant times, a Co-CEO of the Company. Brown
 5
     signed or authorized the signing of the Company’s Registration Statement filed with the SEC. On
 6
     May 4, 2023, the Company announced that Defendant Brown would step down as co-CEO
 7

 8   effective immediately, and would transition into the role of Chief Innovation Officer, a non-

 9   executive role.
10          22.        Defendant Bufano was, at all relevant times, the CFO of the Company. Bufano
11
     signed or authorized the signing of the Company’s Registration Statement filed with the SEC.
12
            23.        Defendants Zwillinger, Brown, and Bufano (collectively, the “Individual
13
     Defendants” or the “Exchange Act Defendants”), because of their positions with the Company,
14

15   possessed the power and authority to control the contents of the Company’s reports to the SEC,

16   press releases and presentations to securities analysts, money and portfolio managers and

17   institutional investors, i.e., the market. The Individual Defendants were provided with copies of
18   the Company’s reports and press releases alleged herein to be misleading prior to, or shortly after,
19
     their issuance and had the ability and opportunity to prevent their issuance or cause them to be
20
     corrected. Because of their positions and access to material non-public information available to
21
     them, the Individual Defendants knew that the adverse facts specified herein had not been disclosed
22

23   to, and were being concealed from, the public, and that the positive representations which were

24   being made were then materially false and/or misleading. The Individual Defendants are liable for

25   the false statements pleaded herein.
26
27

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 1          24.     Defendant Neil Blumenthal (“Blumenthal”) was a Director of the Company and

 2   signed or authorized the signing of the Company’s Registration Statement filed with the SEC.
 3
            25.     Defendant Dick Boyce (“Boyce”) was a Director of the Company and signed or
 4
     authorized the signing of the Company’s Registration Statement filed with the SEC.
 5
            26.     Defendant Mandy Fields (“Fields”) was a Director of the Company and signed or
 6
     authorized the signing of the Company’s Registration Statement filed with the SEC.
 7

 8          27.     Defendant Nancy Green (“Green”) was a Director of the Company and signed or

 9   authorized the signing of the Company’s Registration Statement filed with the SEC.
10          28.     Defendant Dan Levitan (“Levitan”) was a Director of the Company and signed or
11
     authorized the signing of the Company’s Registration Statement filed with the SEC.
12
            29.     Defendant Emily Weiss (“Weiss”) was a Director of the Company and signed or
13
     authorized the signing of the Company’s Registration Statement filed with the SEC.
14

15          30.     The Individual Defendants and Defendants Blumenthal, Boyce, Fields, Green,

16   Levitan, and Weiss are collectively referred to hereinafter as the “Securities Act Individual

17   Defendants.”
18          31.     Defendant Morgan Stanley & Co. LLC (“Morgan Stanley”) served as an
19   underwriter for the Company’s IPO. In the IPO, Morgan Stanley agreed to purchase 5,637,136
20   shares of the Company’s common stock, exclusive of the over-allotment option.
21          32.     Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) served as an underwriter
22   for the Company’s IPO. In the IPO, J.P. Morgan agreed to purchase 5,637,136 shares of the
23   Company’s common stock, exclusive of the over-allotment option.
24          33.     Defendant BofA Securities, Inc (“BofA”) served as an underwriter for the
25   Company’s IPO. In the IPO, BofA agreed to purchase 3,587,269 shares of the Company’s common
26   stock, exclusive of the over-allotment option.
27

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 1          34.     Defendant Robert W. Baird & Co. Incorporated (“Baird”) served as an underwriter

 2   for the Company’s IPO. In the IPO, Baird agreed to purchase 775,385 shares of the Company’s

 3   common stock, exclusive of the over-allotment option.

 4          35.     Defendant William Blair & Company, L.L.C (“William Blair”) served as an

 5   underwriter for the Company’s IPO. In the IPO, William Blair agreed to purchase 775,385 shares

 6   of the Company’s common stock, exclusive of the over-allotment option.

 7          36.     Defendant Piper Sandler & Co. (“Piper Sandler”) served as an underwriter for the

 8   Company’s IPO. In the IPO, Piper Sandler agreed to purchase 775,385 shares of the Company’s

 9   common stock, exclusive of the over-allotment option.

10          37.     Defendant Cowen and Company, LLC (“Cowen”) served as an underwriter for the

11   Company’s IPO. In the IPO, Cowen agreed to purchase 581,538 shares of the Company’s common

12   stock, exclusive of the over-allotment option.

13          38.     Defendant Guggenheim Securities, LLC (“Guggenheim”) served as an underwriter

14   for the Company’s IPO. In the IPO, Guggenheim agreed to purchase 581,538 shares of the

15   Company’s common stock, exclusive of the over-allotment option.

16          39.     Defendant KeyBanc Capital Markets Inc. (“KeyBanc”) served as an underwriter

17   for the Company’s IPO. In the IPO, KeyBanc agreed to purchase 581,538 shares of the Company’s

18   common stock, exclusive of the over-allotment option.

19          40.     Defendant Stifel, Nicolaus & Company, Incorporated (“Stifel”) served as an

20   underwriter for the Company’s IPO. In the IPO, Stifel agreed to purchase 581,538 shares of the

21   Company’s common stock, exclusive of the over-allotment option.

22          41.     Defendant Telsey Advisory Group LLC (“Telsey”) served as an underwriter for the

23   Company’s IPO. In the IPO, Telsey agreed to purchase 242,307 shares of the Company’s common

24   stock, exclusive of the over-allotment option.

25          42.     Defendant C.L. King & Associates, Inc. (“C.L. King”) served as an underwriter for

26   the Company’s IPO. In the IPO, C.L. King agreed to purchase 72,692 shares of the Company’s
27   common stock, exclusive of the over-allotment option.

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 1          43.     Defendant Drexel Hamilton, LLC (“Drexel Hamilton”) served as an underwriter

 2   for the Company’s IPO. In the IPO, Drexel Hamilton agreed to purchase 72,692 shares of the

 3   Company’s common stock, exclusive of the over-allotment option.

 4          44.     Defendant Loop Capital Markets LLC. (“Loop Capital”) served as an underwriter

 5   for the Company’s IPO. In the IPO, Loop Capital agreed to purchase 72,692 shares of the

 6   Company’s common stock, exclusive of the over-allotment option.

 7          45.     Defendant Penserra Securities LLC (“Penserra”) served as an underwriter for the

 8   Company’s IPO. In the IPO, Penserra agreed to purchase 72,692 shares of the Company’s common

 9   stock, exclusive of the over-allotment option.

10          46.     Defendant Samuel A. Ramirez & Company, Inc. (“Samuel A. Ramirez”) served as

11   an underwriter for the Company’s IPO. In the IPO, Samuel A. Ramirez agreed to purchase 72,692

12   shares of the Company’s common stock, exclusive of the over-allotment option.

13          47.     Defendant Siebert Williams Shank & Co., LLC (“Siebert Williams”) served as an

14   underwriter for the Company’s IPO. In the IPO, Siebert Williams agreed to purchase 72,692 shares

15   of the Company’s common stock, exclusive of the over-allotment option.

16          48.     Defendants Morgan Stanley, J.P. Morgan, BofA, Baird, William Blair, Piper

17   Sandler, Cowen, Guggenheim, KeyBanc, Stifel, Telsey, C.L. King, Loop Capital, Penserra,

18   Samuel A. Ramirez, and Siebert Williams are collectively referred to hereinafter as the

19   “Underwriter Defendants.”

20          49.     The Underwriter Defendants sold approximately 17 million shares of Allbirds Class

21   A common stock in the IPO at $15 per share. The Underwriter Defendants’ failure to conduct

22   adequate due diligence in connection with the IPO and the preparation of the Registration

23   Statement was a substantial factor leading to the harm complained of herein.

24          50.     The Underwriter Defendants together with the Securities Act Individual

25   Defendants are referred to hereinafter as the “Securities Act Defendants.”

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 1                                        CONFIDENTIAL WITNESSES2

 2            51.      Confidential Witness (“CW”) CW 1 worked as a Senior Analyst, Global Supply
 3   Planning for Allbirds from May 2020 to May 2021. CW1 had direct contact with Defendants
 4   Zwillinger, Brown and Bufano, including inter alia at monthly meetings described infra.
 5            52.      CW2 worked for Allbirds from August 2019 to May 2023 as a Flagship Store
 6   Leader (until July 2022) and a Manager, Retail Insights (until May 2023). CW2 held weekly
 7   (sometimes bi-weekly) meetings with retail teams in each store to gather data on, inter alia,
 8   products, in-store experience, in-store marketing, and to gather intel on why certain products did
 9   not sell. CW2 had direct contact with Defendants Zwillinger, Brown and Bufano, including inter
10   alia at monthly meetings described infra.
11            53.      CW3 worked as the Director of Retail for North American for Allbirds from May
12   2021 to December 2022 and in that role handled everything pertaining to the retail stores, including
13   financial results, personnel, training, and operations. CW3 had direct contact with Defendants
14   Zwillinger, Brown and Bufano, including inter alia at monthly meetings described infra.
15            54.      CW4 worked as a former high level member of the brand marketing team with
16   responsibilities including visual merchandizing and retail marketing from Fall 2020 until Fall
17   2022. CW4 had direct contact with Defendants Zwillinger, Brown and Bufano, including inter
18   alia at monthly meetings described infra.
19            55.      CW5 worked as a high-level executive in marketing at Allbirds from the Summer
20   of 2017 through the Summer of 2022. CW5 had direct contact with Defendants Zwillinger, Brown
21   and Bufano, including inter alia at monthly meetings described infra.
22

23
     2
       Certain of the confidential witnesses described herein who held job titles unique to them requested that a description
24   of their position rather than their precise title be used herein for fear of retaliation. See Cohen v. Kitov Pharm.
     Holdings, Ltd., 2018 U.S. Dist. LEXIS 45676, at *25 (S.D.N.Y. Mar. 20, 2018)(crediting CW allegations though the
25   complaint generically described them as “former consultants of Kitov with knowledge of the clinical trial results”
     because “any more detailed description in this case likely would reveal the identity of the source”). Nevertheless, the
26   descriptive information provided regarding each CWs role at Allbirds sufficiently sets forth a basis for their knowledge
     as to the facts contained in statements attributed to them herein. To the extent the Court requires additional descriptive
27   information to credit the statements attributed to any CW, Plaintiffs will provide a document containing such
     information for in camera review.
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 1          56.     CW6 managed stores for Allbirds from January 2020 to September 2022. CW6’s

 2   responsibilities included hiring, training, communicating product needs, and communicating

 3   product feedback. CW6 had direct contact with Defendants Zwillinger, Brown and Bufano,

 4   including inter alia at meetings described infra.

 5          57.     CW7 worked as Global Head of Creative for Allbirds from February 2020 to

 6   January 2023 and reported directly to Defendant Brown. CW7’s responsibilities included

 7   overseeing brand marketing and the creative direction of the Company. CW7 also had regular

 8   contact with Defendants Zwillinger and Bufano, including but not limited to participation at

 9   monthly meetings described infra.

10          58.     CW8 worked as an inventory specialist from January 2019 to July 2019 and a

11   Senior Accountant Inventory from July 2019 to January 2022. CW8 recorded inventory and did a

12   lot of systems work. As a Senior Accountant, CW8 worked closely with the supply chain

13   employees.

14          59.     CW9 worked for Allbirds from January 2019 through March 2022 as a store leader,

15   and reported to Heads of Retail Travis Boyce and Audrey Miller. In addition to the traditional

16   responsibilities for a store leader, including personnel and payroll, CW9 also assisted with the

17   opening of new retail store locations.

18                                  SUBSTANTIVE ALLEGATIONS

19                                              Background
20
            60.     Defendants Zwillinger and Brown co-founded Allbirds in May 2015 and first sold
21
     its products in 2016. The startup began as a direct-to-consumer online retailer but then expanded
22
     into the traditional retail space with the launch of brick-and-mortar locations. At its essence,
23
     Allbirds is a footwear company that uses natural materials to produce its products, including wool,
24

25   eucalyptus pulp, Brazilian sugarcane, and trino.       Footwear represents the majority of the

26   Company’s revenue and brand. Its core products include lifestyle and performance shoes, such
27   as the Dasher and the Runner. In March 2016, Time Magazine called Allbirds’ Wool Runner “the
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 1   world’s most comfortable shoes,” and in May 2020, Runner’s World stated that, “the Dasher oozes

 2   casual comfort, but is a legit running shoe. Seriously.” Allbirds’ core customer is 30-40 years old,
 3
     55% female, 45% male, with over 60% earning $100,000 or more annually.
 4
             61.     Allbirds has always differentiated itself by focusing on brand, which its co-founders
 5
     purportedly built based on three fundamental beliefs: first, climate change is an existential threat
 6
     to the human race; second, consumers connect their purchase decisions with their impact on the
 7
     planet; and lastly, consumers do not want to compromise between looking good, feeling good,
 8
     and doing good. Indeed, Allbirds shot to success, becoming a billion dollar unicorn in 2018
 9
     thanks to a growing wave of awareness among consumers of the environmental impact of fast
10
     fashion.
11
             62.     As Defendants have acknowledged in each quarterly and annual filing during the
12
     Class Period, “The Allbirds brand is integral to our business strategy and our ability to attract and
13
     engage customers. As a result, our success depends on our ability to maintain and enhance the
14
     value and reputation of the Allbirds brand.”
15
             63.     Former Allbirds employees CW4 and CW7, each of whom had direct contact with
16
     Defendants Zwillinger and Brown, described their managerial stye as very hands on and
17
     controlling. As CW4 explained, Allbirds was “the Tim and Joe show,” and CW7 confirmed that
18
     “no decisions were made without them.” However, neither co-CEO had retail experience prior
19
     to founding Allbirds. While Defendant Zwillinger earned an MBA at the Wharton School, his
20
     experience consisted of six years at the biotech firm Terravia leading its renewable chemical
21
     business. Defendant Brown is a former professional soccer player from New Zealand. Under
22
     their leadership, the Company has incurred significant net losses since inception and has stated
23
     that it anticipates that it will continue to incur losses for the foreseeable future.
24
             64.     With an eye toward its looming IPO, which ultimately took place on November
25
     3, 2021, and continuing in the years that followed, Defendants changed Allbirds’ business
26
     strategy in three fundamental ways that contradicted their public statements and led the Company
27

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 1   into a downward spiral: 1) overemphasis on and overinvestment in new product offerings that

 2   did not resonate with core consumers, and underinvestment in the core offerings that made the

 3   Company successful pre-IPO; 2) aggressive expansion of Allbirds’ retail store fleet despite the

 4   fact that existing stores were floundering, with no regard to economics or proximity to existing

 5   locations, raising the risk of market saturation and cannibalization; and 3) slashing the brand

 6   marketing budget materially every year since 2019 despite the essentiality of, and the Company’s

 7   stated commitment to, brand awareness.

 8        Allbirds Underinvests in Core Offerings and Overemphasizes Ill-Conceived New
                                             Products
 9
               65.      Defendants have always touted Allbirds’ core strengths, including its ability to
10
     innovate and make new products while continuing to focus on the Company’s core products.
11
               66.      However, as CW1 explained, even though collectively the Company’s core
12
     offerings such as the Tree shoes and Wool shoes account for approximately 80% of the business,
13
     which CW6 corroborated, in the months leading up to the IPO Allbirds shifted its focus to new
14
     apparel         offerings,   beginning    with    t-shirts   in   October     2020.    See     also
15
     https://www.cnn.com/2020/10/20/business/allbirds-sustainable-apparel/index.html. CW5 stated
16
     that the shift away from core offerings began in 2019 as the Company headed toward its IPO.
17
     CW1 corroborated that by the time CW1 joined the Company in May 2020, the decision had
18
     already been made to expand into the apparel market.
19
               67.      CW3 and CW4 confirmed that the Company did not know how to make apparel.
20
     As CW5 explained, the launch of apparel in October 2020 represented a massive departure from
21
     Allbirds’ core mission-- making and selling unique sustainable shoes-- and this departure
22
     negatively impacted the brand. Moreover, CW5 noted that an industrial designer named Jamie
23
     McLellan (a friend of Defendant Brown) designed the apparel, not an apparel designer.
24
               68.      CW1 and CW2 each made clear that apparel was unsuccessful from the time of
25
     its launch. According to CW8, “everyone knew apparel was going to fail” and that Allbirds tried
26
     to expand too quickly. CW1, CW3, and CW4 corroborated that the Company introduced too
27

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 1   many apparel products too quickly with insufficient product testing, no planning, and no concrete

 2   long term strategy in place. Indeed, immediately after launching the t-shirts in October 2020, the

 3   Company launched its run collection, which included tank tops, sports bras, leggings, and biker

 4   shorts, and then immediately moved on to the rest and relaxation vignette, adding hats, beanies,

 5   and scarves for the holidays. As CW1 described, and CW3 confirmed, Allbirds went from one

 6   t-shirt to thirty different apparel offerings by the end of 2020.

 7          69.     According to CW6, because apparel did not sell well from the time it launched,

 8   the Company had too much inventory which it sent to its stores with no markdown or transfer

 9   strategy. CW6 explained that the Company also failed to market properly. For example, though

10   the Company produced a wide range of sizing, it never marketed the apparel to plus size

11   consumers so nobody knew they carried those sizes. Ultimately, significant overage became

12   “part of the wholesale channel” and ended up in TJ Maxx among other places. CW3 similarly

13   stated that because the Company made far too much of the apparel and could not move it, it had

14   to open outlet stores in an effort to offload the product. CW2 confirmed that stores had excess

15   inventory of apparel because it did not sell well across the board, and they tried to send to outlets.

16          70.     According to CW4, the Company overinvested in apparel, made too much, and

17   charged too much, for products with quality issues that did not fit well. For example, according

18   to CW6, the t-shirts were expensive but deteriorated very quickly based on feedback from

19   countless consumers complaining of holes in the shirts. CW9 corroborated that the apparel was

20   poor quality, stating that the t-shirts fell apart, had a “clunky design,” and were poorly received

21   by customers. CW2 and CW3 both confirmed that Allbirds’ apparel offerings did not fit any of

22   its customers properly, regardless of body type, a fact they each separately relayed to the co-

23   CEOs. CW2 also reported the poor performance of apparel in the stores CW2 oversaw directly

24   to co-CEO Defendants Zwillinger and Brown during monthly on-site visits beginning in late

25   October 2020 soon after the t-shirt launch.

26          71.     Additionally, each month Allbirds held a sales and operations meeting attended
27   by approximately ten participants including co-CEO Defendants Zwillinger and Brown as well

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 1   as Defendant Bufano and other senior executives. CW1 stated that at each of the monthly

 2   meetings CW1 attended following the launch of apparel, the participants discussed the poor sales

 3   performance of the apparel products.

 4          72.     Specifically, CW1 explained that attendees discussed the fact that the Company

 5   had introduced too much apparel too quickly, which did not “sell through” as originally planned.

 6   CW3 and CW4 corroborated that at monthly apparel meetings everyone knew that apparel “was

 7   not a hit.” CW6 and CW8 also both stated that despite the fact that apparel did not sell, the

 8   Company didn’t slow down apparel production and continued to create more.

 9          73.     During one monthly apparel meeting, according to CW3, where Chief Product

10   Officer Susi Proudman presented the fabric Allbirds intended to use for its leggings launch, CW3

11   warned her and the co-CEOs that the fabric was transparent but “they just didn’t want to hear it.”

12   CW7 also attended that meeting and similarly voiced that the fabric would not work because of

13   its transparency. The Company went ahead with the leggings launch anyway, and according to

14   CW4, the first collection of leggings Allbirds produced in the Spring of 2021 had to be thrown

15   away because they were transparent. As CW4 and CW8 both stated, for a Company that preached

16   sustainability, there was a lot of waste.

17          74.     CW6 stated that, in addition to the monthly meetings, Allbirds held two big

18   management meetings every year for store managers. One called Flock Week in January, for the

19   purpose of reviewing financials and goal setting for the year, and one called Back to the

20   Birdhouse in September, to check in on how they performed in the previous year and to look

21   ahead to the following year. CW6 stated that all the store managers, buyers, and product

22   designers attended these meetings as well as Defendants Zwillinger, Brown, and Bufano, and

23   other senior executives including CCO Sandeep Verma, and Chief Product Officer Susi

24   Proudman. At each of these meetings the participants discussed that apparel did not sell as

25   projected. Rather than reassess the new products, marketing strategy, or renewed emphasis on

26   core offering, Defendants simply told the store managers to “sell more.”
27

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 1          75.     At these meetings, the senior executives set unrealistic goals, according to CW6,

 2   which were met with skepticism and questions from store managers in attendance who provided

 3   Defendants Zwillinger, Brown, and Bufano with negative feedback regarding the apparel.

 4          76.     Moreover, despite the clear admitted significance of Allbirds’ core offerings to

 5   the Company’s bottom line (as evidenced by the non-public pie chart below presented during

 6   Flock Week which shows the breakdown of sales from 2020) and the dismal performance of

 7   apparel, Defendant Bufano emphasized the plan to continue expanding the Company’s product

 8   offering beyond its core styles:

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            77.     During those meetings, Proudman discussed the target customer for apparel,
19
     referred to as “Charlie,” a Generation Z customer, that was between 20-30 years old, fashion
20
     forward, and eco-conscious:
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            78.     In other words, Allbirds disregarded its core customer, who is traditionally
13
     between 30-40 years old and making $100,000 a year or more, because the younger demographic
14
     which does not earn as much cannot afford Allbirds expensive products, which don’t last.
15
            79.     According to CW1 and CW4, as a result of the disastrous apparel launches,
16
     Allbirds terminated Proudman in early 2021. CW4 and CW7 both stated that Defendants
17
     Zwillinger, Brown, and Bufano took no accountability as business deteriorated further as a result
18
     of the failed product offerings, aggressive store openings, and marketing strategy shift, even
19
     though all the decision making lay with them. Instead they’d blame and fire anyone that disagreed
20
     with them. According to CW3, the Company laid off employees in May or June 2022 as a result
21
     of the failed apparel lines (and floundering stores, as described below). Moreover, CW2 started
22
     noticing apparel product cancellations around January 2023 and according to CW2, the Company
23
     laid off everyone on the apparel team in May 2023.
24
            80.     The Company also floundered with the launches of the Flyer and Pacer shoes in
25
     June 2022 and September 2022. CW2 stated that the Flyer and Pacer shoes did not sell well
26
     because, like apparel, the Company did not execute or market them properly. The Company
27

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 1   marketed the Flyer shoes to runners but due to its construction from natural materials, the shoes

 2   could not withstand the wear and tear of running. Moreover, disregarding their core target

 3   consumers, the Company marketed the Pacer shoes to a younger fashion forward and

 4   performance oriented demographic. The materials used to construct the Pacer gave the shoes a

 5   stiffness and therefore did not provide the same level of comfort as the original Wool and Tree

 6   shoes that led to the Company’s early success. As with apparel, Allbirds overinvested in Pacer

 7   and Flyer at the expense of Runner and Dasher, its core franchises.

 8          81.     CW9 also confirmed that Company went into a downward trajectory with the

 9   launch of apparel in October 2020 and then with the launch of the Flyer and Pacer shoes.

10   According to CW9, when the Company focused on the Tree Runner, Wool Runner, and Dasher,

11   i.e., the products that its core consumers loved, Allbirds did so well that the stores could not stock

12   enough to meet demand. CW9 stated at all the retail store employees questioned why Allbirds

13   made its foray into apparel and running shoes because these, “this is not our customer.” As CW9

14   made clear, As soon as the Company’s vision shifted, as a result of the IPO, sales “started to fall

15   off.” Moreover, CW9 described the dual pronged inventory issues that plagued Allbirds’ retail

16   stores—insufficient product to meet the demand for what customers actually wanted and excess

17   product of what customers did not want. CW9 stated that “we were screaming, we need to be on

18   our core product, our core customer,” but Allbirds’ leadership “didn’t listen to anybody.” Indeed,

19   CW9 communicated these concerns directly to Defendants Zwillinger and Brown, and also

20   communicated these concerns to Travis Boyce and to Senior Manager of Global Retail

21   Communications, Engagement and Training, Scott Thomas during weekly Company calls where

22   other call participants voiced the same concerns. CW9 stated that the feedback on these calls

23   was thereafter relayed to Defendants Zwillinger and Brown by Boyce and Thomas.

24          82.     CW4 and CW6 corroborated that not only did Defendants’ overinvestment in new

25   product offerings led to excess inventory, but its underinvestment in core products led to

26   insufficient inventory of the core footwear items that Allbirds’ consumers actually wanted to buy.
27

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 1          83.     Nevertheless, Defendants have always stated that they were “continuously

 2   seeking ways to engage” with Allbirds’ core consumers, continued to focus and capitalize on

 3   core designs, and claimed that its new product offerings appealed to its existing consumers and

 4   had a strong customer response. Moreover, though they warned investors of the risks of

 5   inventory shortage and inventory excess, Defendants never revealed that those risks had already

 6   come to pass due to their overinvestment in new product offerings and underinvestment in core

 7   products.

 8        Allbirds Pursues an Overly Aggressive and Unprofitable Pace of Store Openings

 9          84.     In the retail real estate world, “cannibalization” occurs when sales at an existing

10   store decrease because customers begin shopping at a new nearby store for the same brand.

11   Cannibalization negatively impacts profitability for both the existing and new location. See, e.g.,

12   https://www.investopedia.com/terms/m/marketcannibilization.asp#:~:text=Market%20cannibal

13   ization%20is%20a%20sales,share%20the%20same%20customer%20base. (“Cannibalization as

14   a marketing strategy is generally frowned upon by stock analysts and investors, who see it as a

15   potential drag on short-term profits. As companies design their marketing strategies, marketing

16   cannibalization needs to be avoided…”)

17          85.     Nevertheless, according to CW3 and CW4, Allbirds opened new stores at an

18   aggressive “dizzying pace,” often in close proximity to where the Company already had stores,

19   even though existing stores struggled to attain profitability. This aggressive pace of store

20   openings led to oversaturation and cannibalization. For example, CW3 stated that in one year

21   Los Angeles went from having one Allbirds store to five; Boston had four, one of which was

22   three blocks from the other; and in New York City Allbirds opened a store in the Flatiron District

23   in close proximity to the flagship store in Soho. CW9 stated that when finding out the Company

24   planned to open another store in Boston, CW9 warned the co-CEOs of cannibalization and

25   market saturation.

26          86.     According to CW3, the Company went from 11 retail stores in May 2021 to 46
27   retail stores in December 2022, with plans to open more in 2023, even though according to CW7,

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 1   Defendants knew in the first quarter of 2021 that many of its existing 11 retail stores were

 2   struggling.

 3             87.   Indeed, CW7 stated that Defendants Zwillinger and Brown along with Head of

 4   Global Retail Operations Travis Boyce (Director Dick Boyce’s son) told employees at an all

 5   hands meeting during the first quarter of 2021 that all 11 retail stores were profitable. However,

 6   during a smaller monthly retail meeting during that same timeframe held in person at the

 7   Company’s headquarters in San Francisco and attended by around five people, including CW7,

 8   Defendants Zwillinger, Brown, Bufano and Travis Boyce, Travis Boyce gave a presentation to

 9   Defendants and wrote in this report that the stores are struggling and needed to close them

10   because they are hemorrhaging money. CW7 recalls a slide projected on a screen listing the fact

11   that retail is unproductive as an issue the Company needed to resolve.

12             88.   CW3 also warned co-CEO Defendants Zwillinger and Brown regarding the poor

13   store performance that resulted from the excessive and poorly planned store openings during

14   monthly real estate meetings attended by approximately twenty people (including Defendants

15   Zwillinger, Brown, and Bufano, CTO Benny Joseph, COO Joe Vernachio, CCO Sandeep Verma,

16   as well as the Vice Presidents and Directors of the inventory, finance, planning, merchandising,

17   retail, real estate departments), both in person and via Zoom, where attendees discussed the lack

18   of profitability in Allbirds’ stores. During those meetings, the attendees would review the

19   financial performance of each store for the previous month. CW4 confirmed that the financial

20   performance of the stores discussed at the monthly meetings was consistently dismal. As CW3

21   and CW4 both described, because the stores could not move their inventory, Allbirds had to open

22   outlets to try and offload the new product offerings that were not performing. However, excess

23   inventory was not the only issue. Because the Company underinvested in its core offerings, and

24   struggled to plan its inventory properly given the overly aggressive pace of store openings, its

25   retail stores also had insufficient inventory of core offerings that its customers actually wanted

26   to buy.
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 1          89.     CW3 stated that at these monthly real estate meetings, Senior Manager of Real

 2   Estate Talia Rapier would present plans for opening more stores, and describe the locations she

 3   had gone to and for which she sought approval. After reviewing the numbers, and against

 4   objections by other attendees including CW3, the co-CEOs would conclude that the economics

 5   do not work but would sign off on the store openings anyway. According to CW7, without any

 6   regard to whether the economics made sense, and to the locations of existing stores, Defendants

 7   aggressively snapped up leases to take advantage of lower lease prices post-Covid in a misguided

 8   attempt to increase visibility to potential consumers and to make it look like the Company was

 9   growing, a strategy doomed to fail because the pace of openings was too aggressive particularly

10   given that the stores struggled to move inventory of new products that did not resonate with

11   consumers. CW3 and CW4 made clear that Defendants Zwillinger and Brown personally

12   approved each store opening during the monthly meetings.

13          90.     CW4 also warned the co-CEOs, who CW4 explained lacked any long term

14   strategy for the Company, that they were opening too many stores too quickly but stated that

15   Defendants wanted to show shareholders they were “growing” post-IPO by increasing their retail

16   store fleet. However, this tactic did not lead to profitability and the stores floundered. CW4

17   described the co-CEOs modus operandi as short term thinking on a whim rather than long term

18   strategy to grow the business. CW3 and CW7 confirmed that despite the dismal numbers and

19   over vociferous objections, the co-CEOs nevertheless continued to aggressively open new stores

20   in a misguided effort to increase “top line” revenue numbers by adding gross volume and sales

21   overall. CW7 corroborated that Defendants Zwillinger and Brown spent recklessly to increase

22   top line, gross revenue as much as possible with nary a thought toward long term profitability.

23          91.     CW4 stated that operations had become “such a mess” given the shoddy apparel

24   offerings and aggressive store openings that the co-CEOs had to bring in a new Chief Operating

25   Officer, Joseph Vernachio, in an attempt to clean it up in July 2021.

26          92.     Moreover, at the Back to the Birdhouse meeting held on September 13-15, 2021,
27   attendees voiced frustration to senior executives including Defendants Brown and Zwillinger

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 1   regarding the rapid pace of store openings and concern regarding cannibalization and inventory

 2   management, particularly given the disastrous new product offerings. Indeed, according to CW9,

 3   at one such meeting in response to concerns voiced over lack inventory for core product offerings,

 4   Defendants Zwillinger and Brown admitted that the lack of core product inventory resulted from

 5   the focus on new product expansion.

 6          93.     Nevertheless, senior executives set forth a plan to open eighteen more retail stores

 7   in 2022. CW6 stated that at this meeting senior executives flagged that its customer retention

 8   rate had been declining and the number of purchases remained flat. While Average Order Value

 9   increased, that was only because Allbirds had increased its prices; e.g. Wool runners went from

10   $99 to $120 a pair, not because new products resonated with consumers. The stores CW6

11   managed, as with most other Allbirds stores, never attained profitability.

12          94.     CW3 stated that Defendants Zwillinger, Brown, and Bufano acknowledged that

13   their aggressive store opening tactic did not work during an “all hands” meeting in the Summer

14   of 2022 to explain and justify a recent round of layoffs. Nevertheless, CW3 stated that new store

15   openings and investment in new product continued even after this meeting.

16          95.     Despite the foregoing, in the Registration Statement as well as in filings

17   throughout the Class Period, Defendants have consistently touted Allbirds’ “thriving” fleet of

18   retail stores, claiming its stores had strong economics and strong returns.

19     Allbirds Underinvests in Brand Awareness, Shifting Focus from Brand Marketing to
                                    Performance Marketing
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            96.     Brand marketing is long-term strategic planning that focuses on establishing and
21
     growing the relationship between a brand and consumers. It is about raising brand awareness
22
     and the consumer’s perception of the Company as a whole rather than a particular product.
23
            97.     Performance marketing, on the other hand, is geared toward short term sales and
24
     consists of paying for results from marketing campaigns—like sales, leads, or clicks—conducted
25
     through third-party channels such as direct mail providers, search engines, and social media sites.
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 1          98.     Brand marketing is geared toward a long term return on investment (“ROI”) while

 2   performance marketing is geared toward a short term ROI.

 3          99.     Allbirds made clear in the Registration Statement, and in every quarterly and

 4   annual filing with the SEC thereafter, that:

 5          The Allbirds brand is integral to our business strategy and our ability to attract and
            engage customers. As a result, our success depends on our ability to maintain and
 6          enhance the value and reputation of the Allbirds brand.
 7   When CW5 started at Allbirds, brand meant everything because when you have a strong brand,
 8   your customers are loyal and you don’t need to spend as much to attract new customers. When
 9   you stop investing, you lose what makes the brand special and unique.
10          100.    However, according to CW5 Allbirds shifted its marketing strategy from brand
11   marketing to performance marketing, which hurt the brand as a whole. Rather than hire a Chief
12   Marketing Officer, CW5 stated that Defendant Zwillinger oversaw brand marketing and
13   Defendant Brown oversaw performance marketing. According to CW5, Defendant Brown made
14   the decision to switch Allbirds’ focus from brand to performance marketing, a shift that began in
15   2019 as the Company headed toward its IPO. Specifically, CW5 explained that the brand
16   marketing budget shrank from $10 million in 2018 to $6 million in 2019, then to $4 million in
17   2020, and to $2 million in 2021 while the performance marketing budget ballooned to between
18   $30 and $40 million per year. CW7 confirmed that the Company had already shifted its strategy
19   from brand marketing to performance marketing before CW7 began working at Allbirds, and
20   corroborated the budget cut figures CW5 described.
21          101.    With the excessive brand marketing budget cuts, the focus on brand awareness—
22   the significance of which the Company continued to acknowledge at the time of the IPO and
23   beyond-- went out the window. As CW7 explained, you have to win the mind share of your
24   consumer before you win the wallet share of your consumer. Mind share is how much consumers
25   love your brand, which is built via brand awareness through brand marketing. CW7 stated that
26   due to Defendant Zwillinger and Brown’s inexperience in retail, and the fact that “brand” is not
27

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 1   easily quantifiable, they short sightedly slashed brand marketing to focus on increasing short

 2   term valuation with performance marketing.

 3          102.     To illustrate the significance, and the Company’s prior success, utilizing brand

 4   marketing prior to the extreme budget cuts, CW5 stated that the Company focused on brand

 5   marketing when it introduced its Tree shoe in 2018. The Company launched a massive strategic

 6   brand campaign; because Tree is “light and breezy” (as compared to Wool which is “soft and

 7   cozy”) the Company launched Tree in the Spring, making the benefits of the product clear for

 8   the consumer. The Company also entered partnerships with Complex and Paper Magazine. CW5

 9   stated that for the holiday campaign Allbirds partnered with a fashion designer and provided her

10   with reams of extra shoe fabric to make custom clothing, which was photographed in Paper

11   magazine and installed in The Oculus Center in New York City. It generated substantial buzz

12   about the brand. Performance marketing on the other hand, as CW5 described, consists of social

13   media ads, email campaigns, and other “bottom-funnel” tactics that are not geared toward

14   building brand awareness and long term ROI. While CW5 stated that performance marketing

15   has its benefits, it should only be a part of the picture, not a majority of the picture—particularly

16   for a Company like Allbirds where brand is everything.

17          103.     CW5 explained that when the Company was still focused on brand marketing, it

18   had a very healthy baseline where it attributed at least 40% of total sales to the strength of the

19   brand, but when Allbirds shifted to short term marketing channels like social media, that baseline

20   deteriorated.

21          104.     CW5 attended monthly marketing meetings with thirty other participants where

22   the participants reviewed Allbirds’ ROI, discussed marketing tactics, and the distribution of the

23   marketing budget between brand and performance marketing. Defendants Zwillinger, Brown,

24   and Bufano, among other high level executives (including CCO Sandeep Verma, COO Joe

25   Vernachio, and CTO Benny Joseph) attended each of these monthly marketing meetings.

26   According to CW5, Global Vice President of Marketing Julie Channing, among other attendees,
27   vociferously objected to the lopsided marketing budget that continued to invert year after year.

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 1   The objections fell on deaf ears. Defendants Zwillinger and Brown focused on short term

 2   strategy with an eye toward the IPO, and thereafter increasing the Company’s top line valuation

 3   superficially, rather than building brand awareness and long term ROI.

 4            105.     Nevertheless, despite the seismic shift in favor of performance marketing, the

 5   Registration Statement, as well as every quarterly and annual report filed subsequent to the IPO,

 6   stated that the Company utilized both brand and performance marketing,3 touting Allbirds’ focus

 7   on brand marketing and emphasizing the significance of brand awareness to Allbirds’ success.

 8                      DEFENDANTS’ COMPENSATION AND INSIDER SALES

 9            106.     In the IPO, the Company sold approximately 16,850,799 shares of Class A

10   common stock at a price of $15.00 per share, and received proceeds of approximately $237

11   million from the Offering, net of underwriting discounts and commissions. The Underwriter

12   Defendants received underwriting discounts and commissions of approximately $22 million.

13            107.     Selling stockholder Director Defendant Levitan sold 2,000,000 shares of Allbirds

14   stock two days after the Company’s IPO, earning proceeds of $30 million, and earned additional

15   proceeds from another sale of 2 million shares sold by Maveron Equity Partners V, L.P. for $30

16   million, because Levitan is one of four managing members of Maveron General Partner V LLC,

17   Maveron Equity’s general partner..

18            108.     During the Class Period, Defendant Zwillinger sold 166,665 shares of Allbirds

19   stock for proceeds of $461,786. All of these sales took place between January 25, 2023 and

20   February 23, 2023. In other words, Defendant Zwillinger disposed of these holdings in the weeks

21   leading up to the March 9, 2023 corrective disclosure.

22

23

24
     3
       For example, the Registration Statement stated: “We create differentiated brand marketing content and utilize
25   performance marketing to drive customers from awareness to consideration to conversion, and promoting awareness
     of our brand and products is important to our ability to grow our business, drive customer engagement, and attract
26   new customers. Our marketing strategy includes brand marketing campaigns across platforms, including email, digital,
     display, site, direct-mail, streaming audio, television, social media, and our Allgood Collective, as well as performance
27   marketing efforts, including retargeting, paid search and product listing advertisements, paid social media
     advertisements, search engine optimization, personalized emails, and mobile push notifications through our app.”
28                                              26
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 1          109.    During the Class Period, Defendant Bufano sold 32,739 shares of Allbirds stock

 2   for proceeds of $103,408 in three separate sales, the last of which occurred on March 2, 2023,

 3   seven days before the corrective disclosure.

 4          110.    In 2022, Defendants Zwillinger and Brown each received a $365,462 salary,

 5   $2,012,471 in stock awards, and $2,059,226 in option awards. Defendant Bufano received a

 6   $395,557 salary, and $1,296,687 in stock awards.

 7       Materially False and Misleading Statements Issued in the Registration Statement in
                             Violation of Section 11 of the Securities Act
 8
            111.    On August 31, 2021, the Company filed its Registration Statement on Form S-1
 9

10   with the SEC, which forms part of the Registration Statement. The Company subsequently made

11   several amendments to the Form S-1.         On October 25, 2021, the Company filed its final

12   amendment to the Registration Statement with the SEC on Form S-1/A, which forms part of the
13   Registration Statement. The Registration Statement was declared effective on November 2, 2021.
14
     On November 4, 2021, the Company filed its prospectus on Form 424B4 with the SEC, which
15
     forms part of the Registration Statement.
16
            112.    The Registration Statement was negligently prepared and, as a result, contained
17

18   untrue statements of material facts or omitted to state other facts necessary to make the statements

19   made not misleading, and was not prepared in accordance with the rules and regulations governing

20   its preparation. Under applicable SEC rules and regulations, the Registration Statement was
21
     required to disclose known trends, events or uncertainties that were having, and were reasonably
22
     likely to have, an impact on the Company’s continuing operations.
23
            113.    In the Registration Statement, Defendants touted the Company’s core strengths,
24
     including its ability to innovate and make new products while continuing to focus on the
25

26
27

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 1   Company’s core products. The Registration Statement4 highlighted why the Company had been

 2   successful prior to the IPO and touted its “durable, competitive advantage.” In describing one
 3
     such strength, “product innovation based on materials R&D and simple, purposeful design,”
 4
     Defendants stated that they continued to focus on core products, i.e., existing designs like the
 5
     Dasher, and pointed to the credibility and trust they built with consumers with their “high-
 6
     quality” core products as the reason the Company would succeed with apparel:
 7

 8              Our emphasis on design that removes unnecessary details to highlight our “Hero”
                materials allows us to capitalize on existing designs. Between our major materials
 9              innovations, we deliver product newness and brand excitement from incremental
                launches across color, pattern, exclusive partnerships, and additional features.
10              Within our footwear line, we can leverage existing shoe sole tooling by modifying
11              upper designs to create entirely new styles, transforming iconic styles into
                franchises. We did this with our first performance running product, the Tree
12              Dasher, by extending that revolutionary midsole and outsole unit to the Wool
                Dasher Mizzle (weather-resistant), Tree Dasher Relay (laceless design), and our
13              Allbirds x Staple collaboration (inside-out design). We believe this approach to
                reinventing classic silhouettes creates timeless product style that reduces
14              potential fashion risk that other companies fall prey to.
15
                We intentionally launched into the footwear category first given its technical
16              nature, building credibility and trust with consumers before moving up the body
                into apparel. We believe our foundation in comfort and simple design, coupled with
17              our success in manufacturing high-quality, sustainable footwear gives us a distinct
                advantage as we expand into adjacent categories.
18
                114.      The Registration Statement did not disclose that not only did the Company fail to
19

20   “capitalize on existing designs” to “reduce[] potential fashion risk that other companies fall prey

21   to,” but rather underinvested in its core products and shifted focus to new apparel offerings that
22   were not “high-quality” and which the Company did not tailor toward its core target consumer.
23
     Moreover, Allbirds did not do “incremental launches” of new products, but rather went from one
24
     apparel offering to thirty by the end of 2020 without adequate testing or planning.
25

26
27
     4
         Unless otherwise stated, all emphasis in bold and italics hereinafter is added.
28                                                 28
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 1          115.    As another reason for its success, the Company listed a “deep connection with our

 2   community of customers”:
 3
            By making great products and telling the story of an inspirational, purpose-driven
 4          brand, we have formed a deep connection with our community of customers. We
            have sold our products to over four million customers since our founding.
 5
     The Registration further touted that:
 6
            Approximately 53% of our net sales in 2020 came from repeat customers.
 7
            116.    While acknowledging the significance of Allbirds’ core customers to the brand’s
 8
     success, the Registration Statement failed to disclose that the Company had begun neglecting its
 9
     “deep connection with [its] community of customers” by shifting focus away from its core
10
     consumer and putting its resources toward overemphasizing new product offerings (e.g., apparel)
11
     extending beyond its core DNA.
12
            117.    The Registration Statement further acknowledged the “importance of engaging our
13
     customer base” and went on to boast that the Company’s digitally-led vertical retail distribution
14
     strategy enabled Defendants to precisely determine who Allbirds’ customers are, what is important
15
     to them, and therefore what products would resonate with them:
16
            As a brand with a digitally-led vertical retail distribution strategy, we are able to own
17          the customer experience, which allows us to use data to determine who our customers
18          are, what is important to them, and what products are most relevant and when,
            allowing us to create a strong connection with our customers. We have learned that
19          our customers live an active and curious lifestyle, care about health and well-being,
            prioritize quality over price, frequently purchase products online, live in urban center
20          settings, and appreciate socially conscious brands. In addition to communicating more
            effectively with our customers, these insights allow us to meet customers’ needs through
21
            the creation of new products and enhancements to our existing line.
22
            Further, to illustrate the importance of engaging our customer base, the average
23          spend by a repeat customer in a given cohort is over 25% more in their second year
            as compared to what was spent in the first year, and the average spend by a repeat
24          customer continues to increase each subsequent year.
25          118.    However, nowhere did the Registration Statement indicate that the Company no
26   longer focused on its existing customer base and began underinvesting in its core consumers’
27   favorite products, like the Runner and Dasher, instead spending significant time and resources
28                                          29
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 1   on new poorly crafted and poorly marketed products that did not resonate with “who [Allbirds’]

 2   consumers are.”

 3          119.     Defendants touted Allbirds’ “thriving retail store fleet” as another cause of its

 4   pre-IPO success, promising that investors could expect similar success in new store openings

 5   based on historical performance and based on the “synergy between the physical and digital sides

 6   of our business” which “takes the form of increased brand awareness…”

 7          Our digital commerce experience is complemented by a thriving retail store fleet.
            With strong pre-COVID-19 unit economics, our store operations have historically
 8          been highly profitable, capital-efficient, and provided strong investment returns.
            All U.S. stores that were operating in 2019 generated approximately $4.3 million
 9
            in average unit volume, or AUV, in their first 12 months of operation, including the
10          stores that had their first 12 months of sales affected by COVID-19 after March
            2020. Based on this pre-COVID performance, we believe our new stores will be
11          highly profitable, have attractive payback periods, serve as good capital
            investments, and be positioned well to take advantage of physical retail’s recovery
12          from the pandemic. While our store channel already generates strong results on a
            standalone basis, the real power of our vertical retail strategy is the synergy between
13
            the physical and digital sides of our business. This synergy takes the form of
14          increased brand awareness and website traffic in the regions where we open new
            stores, driving an overall lift in sales.
15
            120.    While predicting new stores opened would similarly thrive, falsely citing
16
     “increased brand awareness” as the lynchpin of that prediction, the Registration Statement did
17

18   not inform investors that many of Allbirds’ stores in fact were not profitable, the Company’s

19   store opening strategy-- designed to increase the Company’s valuation pre-IPO-- was overly

20   aggressive, included opening stores too close to existing locations, and did not include an
21
     effective plan to manage inventory in the stores.
22
            121.    Indeed, the Registration Statement further touted Allbirds’ supply chain
23
     infrastructure as a competitive advantage over other similar brands, though in reality, Allbirds
24
     could not properly manage its inventory and thus struggled to attain profitability at its retail store
25

26   locations:

27

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 1           Our supply chain infrastructure is advanced compared to other brands of similar
             age and size. The unique relationships we have with our vendors give us agility to
 2           respond to consumer demands, where inventory can go from purchase order to ex-
             factory in as little as 45 days.
 3

 4   Indeed, as numerous CWs attested (see supra), Allbirds’ retail stores had severe inventory

 5   problems. They had shortages of the core products customers actually wanted and a tremendous

 6   excess of inventory in new product offerings that did not resonate with customers and thus did
 7   not sell.
 8
             122.    After comprehensively describing why Allbirds had been successful to date and
 9
     how it had created a “durable, competitive advantage,” the Registration Statement went on to
10
     detail why Allbirds “will continue to be successful.” Specifically, Defendants stated that they
11

12   would continue to focus on and “expand our core product families” and touted new apparel

13   offerings, citing the Company’s “expertise with materials” but did not reveal the significant

14   quality issues with the material and silhouettes used for the apparel offerings and the failure to
15
     design the apparel for Allbirds’ core target consumer.
16
             123.    The Registration Statement further stated that a key part of the Company’s growth
17
     strategy and continued success included deepening its relationship with its core customer:
18
             By deepening our relationships with our repeat customers, we believe we are well-
19
             positioned to capture a greater share of the approximately seven pairs of shoes and
20           68 pieces of clothing that the average American bought in 2018 and realize
             substantial growth in our business.
21
             124.    In reality, the Company was not deepening its relationship with repeat customers,
22
     but rather was underinvesting in the core offerings that resonated with its existing customers,
23

24   shifting focus instead to ill-conceived new apparel offerings.

25           125.    The Registration Statement cited the Company’s plan to increase its store fleet as

26   part of its strategy to accelerate growth, citing historical profitability of its existing stores as its
27   basis for representing the new stores would similarly be “highly profitable”:

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 1          ◦Increase store fleet. We have just scratched the surface of our store potential,
            particularly in the United States, with 27 stores globally as of June 30, 2021. We
 2          are in the early phase of a ramp towards hundreds of potential locations in the
            future, with strong unit economics. Furthermore, as our store fleet expands, we
 3
            expect our growth to accelerate, as compared to 2020, through more efficient
 4          customer acquisition, while also receiving the benefit of increasing digital traffic as
            more people learn about our brand through our stores. Based on our stores’ pre-
 5          COVID-19 performance, we believe our new stores will also be highly profitable,
            have attractive payback periods, serve as good capital investments, and be
 6          positioned well to take advantage of physical retail’s recovery from the pandemic.
 7          126.    Though claiming the “potential locations” had strong unit economics, the
 8   Company in fact planned store openings in locations in close proximity to existing store
 9
     locations, with the risk therefore of negatively impacting the profitability of both the preexisting
10   stores and the new locations as a result of cannibalization. Moreover, the Registration Statement
11   did not disclose that past performance could not foretell future performance for these new
12   locations given that many of its existing locations were not profitable, new product offerings that
13   strayed from the Company’s core DNA, poor inventory management in its retail locations, and
14   the Company’s underinvestment in brand marketing all raised a significant risk that the new
15   stores would also struggle to reach profitability.
16          127.    Despite the essentiality of brand awareness to the Company’s long term success,
17
     which the Registration Statement acknowledged, Defendants had shifted most of the Company’s
18
     marketing resources to performance marketing, leaving inadequate resources dedicated to brand
19
     marketing. The Registration Statement nevertheless represented that Defendants “focused on
20

21   increasing awareness,” going as far as comprehensively detailing the Company’s brand

22   marketing strategies such as:

23          ◦Thought leadership moments. We will continue to be leaders in the fight against
            climate change, from open-sourcing our Carbon Footprint methodology to vocally
24
            challenging copycat brands to copy our sustainability practices and not just our
25          designs. This has helped to amplify our voice and introduce us to new customers
            who connect with the values of our brand.
26
            ◦Community. In 2020, we formalized our community marketing efforts by
27          launching the Allgood Collective, a global community of ambassadors who
28                                           32
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 1          promote the power of collective action as a force for good, embracing the Allbirds
            brand and products as a vehicle for positive change. The Allgood Collective is how
 2          we personify and extend our mission and values into tangible experiences,
            encouraging meaningful conversations and strengthening our relationship with our
 3
            existing fans while also allowing us to reach and engage new groups of people.
 4
            ◦Expanding our brand beacon through physical touchpoints. Our stores are situated
 5          in high-traffic, popular locations and serve as billboards while providing an
            immersive and tactile introduction to the brand. Historically, we have seen
 6          significant awareness boosts in store markets and efficient new customer
            acquisition, and we expect this trend to continue with the rollout of additional
 7          locations throughout the world.
 8
            ◦Full-funnel marketing. We are at a scale now where it is effective to broaden our
 9          marketing funnel from emphasizing direct, digital conversion marketing to a full-
            funnel approach that utilizes TV and other mediums. We anticipate this will result
10          in expanding our consumer reach to a wider population, showcasing a broader array
            of products, and taking consumers through the entire brand journey, from
11          awareness through consideration to conversion. As we increase awareness, add
12          stores, and broaden our product assortment, we believe this full-funnel approach
            will increase marketing efficiency.
13
            128.    The Registration Statement did not reveal that the Company had in fact materially
14
     cut its brand marketing budget beginning in 2019, continuing to reduce the brand marketing
15
     budget by half every year thereafter, shifting the majority of the Company’s marketing budget to
16

17   performance marketing instead.

18          129.    Therefore, the negligently prepared Registration Statement contained materially
19   false and/or misleading statements, and failed to disclose material adverse facts about the
20
     Company’s business, operations, and prospects, including: (i) that Allbirds overemphasized
21
     products that extended beyond the Company’s core offerings; (ii) that the Company’s non-core
22
     products, such as apparel, had lower quality, a narrower appeal, and thus did not resonate with
23

24   customers; (iii) that Allbirds was underinvesting in its core consumers’ favorite products to push

25   the Company’s newer products with narrower appeal; (iv) that underinvesting in Allbirds’ core

26   products was negatively impacting the Company’s sales; (v) that the Company engaged in an
27   overly aggressive and unprofitable store opening strategy that did not succeed due to
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 1   cannibalization, lack of focus on core offerings, and ineffective inventory management; (vi)

 2   Allbirds’ retail stores had significant inventory issues including insufficient inventory of core
 3
     products that customers wanted and excess inventory of new products that did not resonate with
 4
     consumers, and thus did not sell; (vii) that the Company shifted its marketing strategy toward
 5
     performance marketing at the expense of brand marketing despite the significance of brand
 6
     awareness to its success; and (viii) that, as a result of the foregoing, Defendants’ positive
 7

 8   statements about the Company’s business, operations, and prospects were materially misleading

 9   and/or lacked a reasonable basis.
10                                       Regulation S-K Item 105
11          130.    The Registration Statement was subject to the disclosure requirements of Item
12   105 of Regulation S-K, 17 C.F.R. §229.105, which governs disclosure of risk factors and
13   requires, among other things, that an issuer “ provide under the caption ‘ Risk Factors’ a
14   discussion of the material factors that make [the securities] speculative or risky.”
15          131.    Defendants violated their disclosure duties imposed by Item 105 of Regulation
16   S-K, 17 C.F.R. §229.105 by failing to disclose the material risk that Allbirds’ underinvestment
17   in core products and overinvestment in new products, the inventory shortages of core products
18   and inventory excess of new products, its overly aggressive and unprofitable pace of store
19   openings, and its evisceration of the brand marketing budget had and would continue to
20   negatively impact the Company’s financial results.
21                                       Regulation S-K Item 303
22          132.    The Registration Statement was subject to the disclosure requirements of Item 303
23   of Regulation S-K, which among other things requires disclosure of “any known trends or
24   uncertainties that have had or that are reasonably likely to have a material favorable or
25   unfavorable impact on net sales or revenues or income from continuing operations.” 17 C.F.R.
26   § 229.303(b)(2). Companies must also disclose events that the registrant knows will “cause a
27   material change in the relationship between costs and revenues” and “any unusual or infrequent
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 1   events or transactions or any significant economic changes that materially affected the amount

 2   of reported income from continuing operations and, in each case, indicate the extent to which

 3   income was so affected.” 17 C.F.R. § 229.303(b)(2).

 4          133.    In violation of Item 303, the Registration Statement failed to disclose the known

 5   trends that Allbirds’ underinvestment in core products and overinvestment in new products, the

 6   inventory shortages of core products and inventory excess of new products, its overly aggressive

 7   and unprofitable pace of store openings, and its evisceration of the brand marketing budget were

 8   having a material adverse impact on its business and financial results. Allbirds had a duty to

 9   disclose these material adverse trends under Item 303 of Regulation S-K, yet failed to do so.

10   Materially False and Misleading Statements Issued During the Class Period in Violation of
                                Section 10(b) of the Exchange Act
11
            134.    Beginning with the Registration Statement and continuing throughout the Class
12

13   Period in press releases, Form 10-Q reports, Form 10-K reports and on quarterly earnings calls,

14   the Exchange Act Defendants issued false and misleading public statements stating that the

15   Company continued to focus on its core products and core consumer, enjoyed success from its
16   retail store fleet, and focused on brand awareness using brand marketing. The Exchange Act
17
     Defendants failed to disclose: (i) that Allbirds was overemphasizing and overinvesting in new
18
     products, including apparel, that extended beyond the Company’s core offerings; (ii) that the
19
     Company’s non-core products had a narrower appeal and did not resonate with customers as well
20

21   as the Company’s core products; (iii) that Allbirds was underinvesting in its core consumers’

22   favorite products to push the Company’s newer products with narrower appeal; (iv) that

23   underinvesting in Allbirds’ core products was negatively impacting the Company’s sales; (v) that
24
     the Company pursued an unprofitable and overly aggressive pace of store openings though its
25
     existing stores struggled and even while new stores failed to attain profitability due to ill-received
26
     product offerings, market saturation, and cannibalization; (vi) Allbirds’ retail stores had
27

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 1   significant inventory issues including insufficient inventory of core products that customers

 2   wanted and excess inventory of new products that did not resonate with consumers, and thus did
 3
     not sell; (vii) that the Company shifted its marketing strategy toward performance marketing at
 4
     the expense of brand marketing despite the significance of brand awareness to its success; and
 5
     (viii) that, as a result of the foregoing, Defendants’ positive statements about the Company’s
 6
     business, operations, and prospects were materially misleading and/or lacked a reasonable basis.
 7

 8          135.    On November 30, 2021, the Company issued a press release announcing its third

 9   quarter 2021 financial results. Therein, Defendant Zwillinger stated:
10          [W]e saw strong consumer response in the quarter to our new product innovation,
11          including our new Perform Apparel line.”

12                                               ***

13          [W]e’re aligning our purpose of reversing climate change with our product quality
            and financial outcomes.
14
            136.    The foregoing statements misled investors because Allbirds did not see a “strong
15
     consumer response” to apparel, which the Company struggled to sell from the moment of its
16

17   launch in October 2020, due in part to “product quality.”

18          137.    That same day, Allbirds held an earnings call with analysts, during which
19   Defendants Zwillinger, Brown, and Bufano presented. On the call, Defendant Zwillinger
20
     addressed Allbirds’ existing retail stores and expansion, representing that existing stores had
21
     “strong” economics and returns, and that new stores “increased brand awareness, provid[ing] a
22
     halo effect on the overall business”:
23

24          We opened our first store in 2017. And despite the slowdown of this channel during
            the pandemic, we now operate a fleet of 35 stores globally with 23 in the U.S. each
25          store has strong standalone four wall economics…

26                                               ***
27

28                                          36
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 1          Our stores generate strong returns on invested capital and have attractive
            payback periods. And when we open new stores, it drives increased brand
 2          awareness, provides a halo effect on the overall business. And hence we approve
            the efficacy of our marketing spent these impacts along with lower return rates and
 3
            more efficient transportation means that growth in physical retail also drives margin
 4          expansion.

 5          We have a strong pipeline of new stores ahead, and ultimately we see white space
            for hundreds of stores over time.
 6
            138.    Defendant Zwillinger did not reveal that the Company’s store opening strategy
 7
     was overly aggressive and unprofitable and unlikely to lead to profitability, as was discussed
 8
     during multiple monthly meetings attended by Defendants Zwillinger, Brown, and Bufano (see
 9
     supra). Defendant Zwillinger also failed to mention that the new stores would not benefit the
10
     “overall business” because Allbirds opened stores in close proximity to existing locations raising
11
     the risk of market saturation and cannibalization, and did not develop effective plans to manage
12
     inventory overage in the stores caused by its unsuccessful apparel products that strayed from the
13
     Company’s core DNA and which the stores could not sell due to poor quality, design, and
14
     marketing.
15
            139.    Regarding the Company’s foray into apparel, which began over a year prior,
16
     Defendant Zwillinger stated:
17
            While we always envisioned building a global lifestyle brand, we opted to make
18          shoes first. And now that we have gained consumers trust, we believe they will
            now embrace our material innovations apply to apparel categories.
19

20                                               ***

21          Underpinning the opportunity to drive growth in our retail and international
            businesses is an incredible product pipeline, led by footwear with a growing and
22          important apparel offering. Our robust R&D engine means that we're continually
            innovating, in our short history, we've proven that our material and innovation
23          platform creates a powerful flywheel, enabling us to build winning franchises
24          while empowering us to expand into new categories.

25          140.    Defendant Brown similarly touted the Company’s new apparel offerings:

26          [W]e saw a great response in the quarter to our product innovation with strong
            traction from the Wool Piper Mid, Sugar Rover and Perform Apparel launch in
27

28                                          37
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 1           August, an exciting new collection to complement our performance footwear
             offering.
 2
             141.    The foregoing statements regarding Allbirds’ new apparel “innovations” misled
 3
     investors because the Exchange Act Defendants failed to disclose that they already knew
 4
     Allbirds’ core customers with whom they had purportedly “gained [] trust” had not and would
 5
     not embrace apparel because, Allbirds did not create apparel with its core consumer in mind, and
 6
     the apparel launches which began in October 2020 had already proven unsuccessful due to poor
 7
     design, quality, and marketing.
 8
             142.    On December 7, 2021, the Company filed its Form 10-Q for the quarter ended
 9

10   September 30, 2021 (“3Q21”), signed by Defendants Zwillinger and Bufano. Therein, Allbirds

11   identified “Continued Growth Within Existing Customer Base and Increasing Closet Share” as a

12   “Key Factor Affecting Our Performance.” Specifically, the 3Q21 stated:
13           In addition to seeking to acquire new customers, we continuously seek ways to
14           engage with our large and growing base of over four million existing customers.
             We aim to grow our closet share within our existing customer base, especially as
15           we expand into new product categories and line extensions.

16                                              ***
17
             [I]t is critical that we maintain our long-trusted commitment to offering the most
18           comfortable, high performance, and sustainable products. Our continued growth
             within our existing customer base will depend in part on our ability to continue to
19           innovate with new products appealing to our existing customers.

20           143.    Though acknowledging their awareness regarding the importance of continued focus
21   on Allbirds’ core customer base, Defendants falsely stated that they continuously seek ways to
22
     engage with core customers when in reality, the Company had been underinvesting in core products
23
     and overinvesting in/overemphasizing new offerings that targeted a demographic outside its core
24
     customer base. Moreover, Defendants failed to reveal that Allbirds’ new apparel offerings already
25

26   failed to appeal to existing customers and did not qualify as high performance given significant

27   quality and fit issues.

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 1           144.    Indeed, the 3Q21 conceded that if Allbirds failed to attract new customers and failed

 2   to appeal to existing customers with its product offerings, “our business, financial condition, results
 3
     of operations, and growth prospects will be harmed.” Specifically, the 3Q21 stated:
 4
             In addition, our future success depends in part on our ability to increase sales to
 5           our existing customers over time, as a significant portion of our net revenue is
             generated from sales to existing customers, particularly those existing customers
 6           who are highly engaged and make frequent and/or large purchases of the products
             we offer. If existing customers no longer find our products appealing, are not
 7
             satisfied with our customer service, or if we are unable to timely update our
 8           products to meet current trends and customer demands, our existing customers may
             not make purchases, or if they do, they may make fewer or smaller purchases in the
 9           future.
10           If we are unable to continue to attract new customers or our existing customers
             decrease their spending on the products we offer or fail to make repeat purchases
11
             of our products, our business, financial condition, results of operations, and
12           growth prospects will be harmed.

13           145.    However, in so warning, the Exchange Act Defendants failed to reveal that these

14   risks had already come to pass. Allbirds’ new product offerings floundered given poor planning,
15   design, and quality, and failed to appeal to “existing customers” because the Company marketed
16
     its new products to a younger demographic outside Allbirds’ core customer base.
17
             146.    Additionally, the Exchange Act Defendants detailed the risk of Allbirds failing to
18
     remedy quality issues with its products but failed to reveal that from the time they launched
19

20   apparel in October 2020, they knew about quality issues based on both employee and consumer

21   feedback, which was discussed during monthly meetings attended by Defendants Brown,

22   Zwillinger, and Bufano, among other senior executives, yet not only did they fail to remedy these
23
     issues, they continued to launch additional apparel lines with similar results.
24
             If existing customers are dissatisfied with their product experience due to defects
25           in the materials or manufacturing of our products or other quality related concerns,
             then they may stop buying our products and may stop referring others to us, and we
26           could experience an increase in the rate of product returns. If we are unable to
             retain existing customers and attract new customers due to quality issues that we
27
             fail to identify and remedy, our growth prospects would be harmed and our
28                                           39
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 1          business could be adversely affected. If product quality issues are widespread or
            result in product recalls, our brand and reputation could be harmed, we could incur
 2          substantial costs, and our results of operations and financial condition could be
            adversely affected.
 3

 4          147.    The 3Q21 also described Allbirds’ marketing efforts, and emphasized the

 5   significance of brand awareness and retaining existing customers to that effort:

 6          Marketing expense consists of advertising costs incurred to acquire new customers,
            retain existing customers, and build our brand awareness. We expect marketing
 7          expense to continue to increase in absolute dollars as we continue to expand our
 8          brand awareness, introduce new product innovations across multiple product
            categories, and implement new marketing strategies.
 9
            148.    The foregoing statements misled investors because Allbirds had already shifted
10
     its focus away from brand awareness, annually cutting its brand marketing budget materially in
11

12   favor of performance marketing starting in 2019.

13          149.    Indeed, the 3Q21 described the Company’s marketing efforts in detail but failed

14   to reveal that a majority of the marketing budget went to performance marketing at the expense
15
     of brand awareness, despite the fact that, as explained supra, Allbirds’ “brand” is integral to its
16
     success:
17
            We create differentiated brand marketing content and utilize performance
18          marketing to drive customers from awareness to consideration to conversion, and
            promoting awareness of our brand and products is important to our ability to grow
19
            our business, drive customer engagement, and attract new customers. Our
20          marketing strategy includes brand marketing campaigns across platforms,
            including email, digital, display, site, direct-mail, streaming audio, television,
21          social media, and our Allgood Collective, as well as performance marketing efforts,
            including retargeting, paid search and product listing advertisements, paid social
22          media advertisements, search engine optimization, personalized emails, and mobile
23          push notifications through our app.

24          150.     The 3Q21 also cited the Company’s plan to increase its store fleet as part of its

25   strategy to accelerate growth, citing historical profitability of its existing stores as its basis for

26   representing the new stores would similarly be “highly profitable”:
27

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 1             With strong pre-COVID-19 unit economics, our store operations have historically
               been highly profitable, capital-efficient, and provided strong investment
 2             returns…We expect our stores to rebound to pre-COVID levels over time following
               the broader reopening of the economy. Based on this pre-COVID performance,
 3
               we believe our new stores will be highly profitable, have attractive payback
 4             periods, serve as good capital investments, and be positioned well to take
               advantage of physical retail’s recovery from the pandemic.
 5
               151.   While predicting new stores would similarly thrive, the 3Q21 did not inform
 6
     investors that such expectation lacked a reasonable basis because the Company’s store opening
 7

 8   strategy was overly aggressive and unprofitable, included opening stores too close to existing

 9   locations raising the risk of market saturation and cannibalization, and did not include an

10   effective plan to manage inventory in the stores. Moreover, the new product offerings that
11
     strayed from the Company’s core DNA, poor inventory management in its retail locations, and
12
     the Company’s underinvestment in brand marketing, raised the material risk that its stores would
13
     continue struggling to reach profitability.
14
               152.   Moreover, the 3Q21 included misleading risk warnings regarding inventory
15

16   levels:

17             Inventory levels in excess of customer demand may result in inventory write-offs,
               donations by us of our unsold products, inventory write-downs, and/or the sale of
18             excess inventory at discounted prices, any of which could cause our gross margin
               to suffer, impair the strength and exclusivity of our brand, and have an adverse
19
               effect on our results of operations, financial condition, and cash flows. For example,
20             we have in the past donated excess unsold products to third parties and sold certain
               of our products at discounted prices at our outlet store in Northern California.
21
               Conversely, if we underestimate customer demand for our products and fail to place
22             sufficient orders with our manufacturers in advance, then our manufacturers may
               not be able to deliver products to meet our requirements and we may experience
23
               inventory shortages. Inventory shortages in our stores or third-party distribution
24             centers could result in delayed shipments to customers, lost sales, a negative
               customer experience, lower brand loyalty, and damage to our reputation and
25             customer relationships, any of which could have an adverse effect on our results of
               operations, financial condition, and cash flows.
26
27

28                                             41
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 1          153.    The foregoing risk warnings misled investors because Allbirds’ retail stores

 2   already experienced inventory levels “in excess of customer demand” for new product offerings
 3
     that they could not sell due to poor quality, fit, and design, and because they did not resonate
 4
     with new or existing customers, and Allbirds’ retail stores also already experienced “inventory
 5
     shortages” of the core product offerings that its consumers actually wanted. These risks
 6
     manifested as a result of Allbirds’ overinvestment in new products and underinvestment in core
 7

 8   products as well as Allbirds’ overly aggressive pace of store openings with insufficient inventory

 9   planning.
10          154.    On February 23, 2022, the Company issued a press release announcing its
11
     financial results and business highlights for the quarter and fiscal year ended December 31, 2021.
12
     Therein, Defendant Zwillinger stated:
13
            Importantly, we believe that our innovation engine, continued retail store
14          expansion, and increasing international presence will continue to drive an
15          accelerating topline growth rate in 2022

16          155.    The foregoing misled investors because Defendant Zwillinger had no basis for

17   stating that “innovation” and “continued retail store expansion” would “continue to drive”
18   growth because they were not currently driving growth.             Allbirds overemphasized and
19
     overinvested in purportedly innovative new apparel products that floundered, the Company
20
     underinvested in the core offerings that made the brand successful, the Company’s retail store
21
     expansion was too aggressive and doomed to elude profitability given market saturation,
22

23   cannibalization, and excess inventory of unsuccessful apparel products with quality and fit issues.

24          156.    That same day, Defendants held an earnings call with analysts to discuss the

25   quarterly results, during which Defendants Zwillinger, Brown, and Bufano presented. Regarding
26   the Company’s new apparel products, loungewear in particular, Defendant Zwillinger claimed
27
     that consumers “had a positive reaction”:
28                                          42
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 1          Consumers had a positive reaction … on the apparel side, to our comfy and cozy
            loungewear.
 2
            157.   Similarly, Defendant Brown touted its latest apparel launch as being “well
 3

 4   received by our customers” and claimed the Company’s apparel strategy “is working.”

 5          In apparel, we launched a switch product that has been well received by our
            customers and embodies our key differentiator, leveraging unique natural materials
 6          to deliver next to skin comfort, a hallmark of the Allbirds brand, which we expect
            will help us win long-term.
 7
                                                ***
 8

 9          And then lastly, apparel is a journey. We continue to see that as something that can
            augment footwear franchises increase average order value, repeat purchase rate, the
10          strategy is working.

11          158.   The foregoing statements misled investors because since apparel launched in
12   October 2020, consumers had not had a “positive reaction” to any of the new products and their
13
     apparel strategy was not working, as Defendants Zwillinger and Brown well knew based on
14
     numerous meetings during which the poor response to apparel and the issues with the apparel
15
     products were discussed.
16

17          159.   Defendant Zwillinger also discussed how Allbirds’ “brand awareness in the U.S.

18   is 11%, leaving us unknown to a vast majority of Americans,” and claimed that, “awareness is

19   one aspect that we're focused on,” but failed to disclose that despite this, and despite having
20   acknowledge the significance of brand awareness to Allbirds ability to succeed, Allbirds had
21
     shifted focus away from brand marketing and cut the brand marketing budget materially in favor
22
     of performance.
23
            160.   On March 16, 2022, Allbirds filed its annual Form 10-K for the quarter and fiscal
24

25   year ended December 31, 2021 (“2021 10-K”), signed by Defendants Zwillinger, Brown, and

26   Bufano. The 2021 10-K highlighted why the Company had been successful prior to the IPO and
27   why it had a “durable, competitive advantage.” In describing one such strength, “product
28                                          43
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 1   innovation based on materials R&D and simple, purposeful design,” the Exchange Act

 2   Defendants represented that they continue to focus on core products, i.e., existing designs like
 3
     the Dasher, and pointed to the credibility and trust they built with consumers with their “high-
 4
     quality” core products as the reasons the Company would succeed with apparel:
 5
            Our emphasis on design that removes unnecessary details to highlight our “Hero”
 6          materials allows us to capitalize on existing designs. Between our major materials
            innovations, we deliver product newness and brand excitement from incremental
 7
            launches across color, pattern, exclusive partnerships, and additional features.
 8
            161.    The 2021 10-K did not disclose that not only did the Company fail to “capitalize
 9
     on existing designs” but rather underinvested in its core products and overinvested in new apparel
10
     offerings that were not launched incrementally, were not “high-quality” and which the Company
11

12   did not tailor toward its core target consumer.

13          162.    Moreover, while acknowledging the significance of Allbirds’ core customers to

14   the brand’s success, the 2021 10-K failed to disclose that the Company had begun neglecting its
15
     “deep connection with [its] community of customers” by shifting focus away from its core
16
     consumer and putting its resources toward overemphasizing new product offerings (e.g., apparel)
17
     extending beyond its core DNA. The 2021 10-K acknowledged the “importance of engaging our
18
     customer base” and went on to boast that the Company’s digitally-led vertical retail distribution
19

20   strategy enabled the Company to precisely determine who Allbirds’ customers are, what is

21   important to them, and therefore what products would resonate with them:
22          As a brand with a digitally-led vertical retail distribution strategy, we are able to
23          own the customer experience, which allows us to use data to determine who our
            customers are, what is important to them, and what products are most relevant
24          and when, allowing us to create a strong connection with our customers. We have
            learned that our customers live an active and curious lifestyle, care about health and
25          well-being, prioritize quality over price, frequently purchase products online, live
            in urban center settings, and appreciate socially conscious brands. In addition to
26          communicating more effectively with our customers, these insights allow us to
27          meet customers’ needs through the creation of new products and enhancements to
            our existing line.
28                                                   44
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 1          163.    However, nowhere did the 2021 10-K indicate that the Company no longer

 2   focused on its existing customer base and began underinvesting in its core consumers’ favorite

 3   products, like the Runner and Dasher, and instead spent significant time and resources on new

 4   poorly crafted and poorly marketed products that neither resonated with its core consumer nor

 5   new customers.

 6          164.    Similarly, in the 2021 10-K, Allbirds identified “Continued Growth Within

 7   Existing Customer Base and Increasing Closet Share” as a “Key Factor Affecting Our
 8
     Performance.” Specifically, the 2021 10-K stated:
 9
            In addition to seeking to acquire new customers, we continuously seek ways to
10          engage with our large and growing base of over four million existing customers.
            We aim to grow our closet share within our existing customer base, especially as
11          we expand into new product categories and line extensions.
12
                                                  ***
13
            [I]t is critical that we maintain our long-trusted commitment to offering the most
14          comfortable, high performance, and sustainable products. Our continued growth
            within our existing customer base will depend in part on our ability to continue to
15          innovate with new products appealing to our existing customers.
16
            165.    Though acknowledging their awareness regarding the importance of continued focus
17
     on Allbirds’ core customer base, the Exchange Act Defendants falsely stated that they continuously
18
     seek ways to engage with core customers when in reality, the Company had been underinvesting in
19
     core products and overinvesting in/overemphasizing new offerings that targeted a demographic
20

21   outside its core customer base. Moreover, the Exchange Act Defendants failed to reveal that their

22   new apparel offerings already failed to appeal to existing customers and did not qualify as high
23   performance given significant quality and fit issues.
24
            166.    Indeed, the 2021 10-K conceded that if Allbirds failed to attract new customers and
25
     failed to appeal to existing customers with its product offerings, “our business, financial condition,
26
     results of operations, and growth prospects will be harmed.” Specifically, the 2021 10-K stated:
27

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 1           In addition, our future success depends in part on our ability to increase sales to
             our existing customers over time, as a significant portion of our net revenue is
 2           generated from sales to existing customers, particularly those existing customers
             who are highly engaged and make frequent and/or large purchases of the products
 3
             we offer. If existing customers no longer find our products appealing, are not
 4           satisfied with our customer service, or if we are unable to timely update our
             products to meet current trends and customer demands, our existing customers may
 5           not make purchases, or if they do, they may make fewer or smaller purchases in the
             future.
 6
             If we are unable to continue to attract new customers or our existing customers
 7           decrease their spending on the products we offer or fail to make repeat purchases
 8           of our products, our business, financial condition, results of operations, and
             growth prospects will be harmed.
 9
             167.       However, in so warning, the Exchange Act Defendants failed to reveal that these
10
     risks had already come to pass. Allbirds’ new product offerings floundered given poor planning,
11
     design, and quality, and failed to appeal to “existing customers” because the Company marketed
12
     its new products to a younger demographic outside Allbirds’ core customer base.
13
             168.       Additionally, the Exchange Act Defendants detailed the risk of Allbirds failing to
14
     remedy quality issues with its products but failed to reveal that from the time they launched
15
     apparel in October 2020, they knew about quality issues based on both employee and consumer
16
     feedback, which was discussed during monthly meetings attended by Defendants Brown,
17
     Zwillinger, and Bufano, among other senior executives, yet not only did the Exchange Act
18
     Defendants fail to remedy these issues, they continued to launch additional apparel lines with
19
     similar results.
20
             If existing customers are dissatisfied with their product experience due to defects
21           in the materials or manufacturing of our products or other quality related concerns,
             then they may stop buying our products and may stop referring others to us, and we
22           could experience an increase in the rate of product returns. If we are unable to
23           retain existing customers and attract new customers due to quality issues that we
             fail to identify and remedy, our growth prospects would be harmed and our
24           business could be adversely affected. If product quality issues are widespread or
             result in product recalls, our brand and reputation could be harmed, we could incur
25           substantial costs, and our results of operations and financial condition could be
             adversely affected.
26
27

28                                              46
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 1           169.      The 2021 10-K also described Allbirds’ marketing efforts, and emphasized the

 2   significance of brand awareness and retaining existing customers to that effort:

 3           Marketing expense consists of advertising costs incurred to acquire new customers,
             retain existing customers, and build our brand awareness. We expect marketing
 4           expense to continue to increase in absolute dollars as we continue to expand our
             brand awareness, introduce new product innovations across multiple product
 5
             categories, and implement new marketing strategies.
 6
             170.      Moreover, the 2021 10-K claimed that marketing aimed at brand awareness
 7
     remained Allbirds’ focus:
 8
             We are focused on increasing brand awareness and consumer touchpoints
 9           through the following marketing initiatives:
10                  •Spreading our message through word-of-mouth, thought leadership and PR,
                    partnerships, and community.
11
                    •Extending our reach and connecting with our customers through digital and
12
                    performance marketing, TV and other media, stores as physical brand
13                  beacons, and customer experience.

14           171.      The foregoing statements misled investors because Allbirds had already shifted

15   its focus away from brand awareness, cutting its brand marketing budget by half annually

16   beginning in 2019, and putting the lion’s share of its marketing budget into performance

17   marketing.

18           172.      Indeed, the 2021 10-K described the Company’s marketing efforts in detail but

19   failed to reveal that a majority of the marketing budget went to performance marketing at the

20   expense of brand awareness, despite the fact that, as explained supra, Allbirds’ “brand” is integral

21   to its success:

22           We create differentiated brand marketing content and utilize performance
             marketing to drive customers from awareness to consideration to conversion, and
23           promoting awareness of our brand and products is important to our ability to grow
             our business, drive customer engagement, and attract new customers. Our
24
             marketing strategy includes brand marketing campaigns across platforms,
25           including email, digital, display, site, direct-mail, streaming audio, television,
             social media, and our Allgood Collective, as well as performance marketing efforts,
26           including retargeting, paid search and product listing advertisements, paid social
             media advertisements, search engine optimization, personalized emails, and mobile
27           push notifications through our app.
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 1             173.    The 2021 10-K also cited the Company’s plan to increase its store fleet as part of

 2   its strategy to accelerate growth, citing historical profitability of its existing stores as its basis for

 3   representing the new stores would similarly be “highly profitable”:

 4             With strong pre-COVID-19 unit economics, our store operations have historically
               been highly profitable, capital-efficient, and provided strong investment
 5             returns…We expect our stores to rebound to pre-COVID levels over time following
               the broader reopening of the economy. Based on this pre-COVID performance,
 6
               we believe our new stores will be highly profitable, have attractive payback
 7             periods, serve as good capital investments, and be positioned well to take
               advantage of physical retail’s recovery from the pandemic.
 8
               174.   While predicting new stores would similarly thrive, the 2021 10-K did not inform
 9
     investors that such expectation lacked a reasonable basis because the Company’s store opening
10

11   strategy was overly aggressive and unprofitable, included opening stores too close to existing

12   locations raising the risk of market saturation and cannibalization, and did not include an

13   effective plan to manage inventory in the stores. Moreover, the new product offerings that
14
     strayed from the Company’s core DNA, poor inventory management in its retail locations, and
15
     the Company’s underinvestment in brand marketing, raised the material risk that its stores would
16
     continue struggling to reach profitability.
17
               175.   Defendants conceded that they regularly monitored inventory levels and thus
18
     would have known of the excess inventory plaguing its retail stores:
19
               We periodically review inventory and make provisions as necessary to appropriately
20
               value slow-moving, damaged, and excess inventory.
21
               176.   Moreover, the 2021 10-K included misleading risk warnings regarding inventory
22
     levels:
23
               Inventory levels in excess of customer demand may result in inventory write-offs,
24             donations by us of our unsold products, inventory write-downs, and/or the sale of
25             excess inventory at discounted prices, any of which could cause our gross margin
               to suffer, impair the strength and exclusivity of our brand, and have an adverse
26             effect on our results of operations, financial condition, and cash flows. For example,
               we have in the past donated excess unsold products to third parties and sold certain
27             of our products at discounted prices at our outlet store in Northern California.
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 1          Conversely, if we underestimate customer demand for our products and fail to place
            sufficient orders with our manufacturers in advance, then our manufacturers may
 2          not be able to deliver products to meet our requirements and we may experience
            inventory shortages. Inventory shortages in our stores or third-party distribution
 3
            centers could result in delayed shipments to customers, lost sales, a negative
 4          customer experience, lower brand loyalty, and damage to our reputation and
            customer relationships, any of which could have an adverse effect on our results of
 5          operations, financial condition, and cash flows.
 6          177.    The foregoing risk warnings misled investors because Allbirds’ retail stores
 7   already experienced inventory levels “in excess of customer demand” for new product offerings
 8
     that they could not sell due to poor quality, fit, and design, and because they did not resonate
 9
     with new or existing customers, and Allbirds’ retail stores also already experienced “inventory
10
     shortages” of the core product offerings that its consumers actually wanted. The Exchange Act
11

12   Defendants did not disclose that these risks manifested as a result of Allbirds’ overinvestment in

13   new products and underinvestment in core products as well as Allbirds’ overly aggressive pace

14   of store openings with insufficient inventory planning.
15
            178.    On May 10, 2022, the Company issued a press release announcing its first quarter
16
     2022 financial results. The press release announced a reduction to its financial targets but failed
17
     to state that the Company had shifted its focus toward attracting new customers at the expense of
18
     its core customers. Defendant Zwillinger was quoted saying the following about the Company’s
19

20   performance:

21          [W]e remain focused on driving the topline through our core growth pillars of
            delivering product innovation, growing our store portfolio and expanding
22          internationally, with those growth pillars highlighted in 2022 by what we believe is
23          the most exciting new product roadmap in the history of the company.

24          179.    The foregoing statements misled investors because Allbirds had underinvested in

25   its core products, introduced new apparel lines as part of its “product innovation” that did not

26   succeed and did not target Allbirds core customer, and its efforts at “growing our store portfolio”
27

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 1   were too aggressive and led to market saturation and cannibalization, suffered from poor

 2   inventory management, and did not attain profitability.
 3
               180.   That same day, Allbirds held an earnings call with analysts to discuss the quarterly
 4
     results, during which Defendants Zwillinger, Brown and Bufano presented.               On the call,
 5
     Defendant Brown touted the release of the Flyer, which he described as “our third performance
 6
     shoe and our latest best performing and most visually bold design yet.” Comprehensively
 7

 8   describing the shoe and claiming it could stand up to “even the best runners,” Defendant Brown

 9   stated:
10             Designed to perform equally well on a first run on race day or anything in
11             between. The Tree Flyer has gone through extensive development and testing
               both in our innovation lab and on the road with countless iterations developed to
12             perfect the shoe. The shoe has been road tested by more than 100 runners over
               6,000 miles across a wide array of conditions and climates to validate its
13             remarkable performance attributes. We are incredibly excited about this launch
               and as our first high-performance product expected to meaningfully increase our
14             credibility in this category.
15
               The core of what makes the Tree Flyer so special is SweetFoam a first of its kind
16             midsole technology. The result is a shoe made for runners of all stripes with our
               highest rebound rate yet at 70%. While midsoles are usually made from petroleum
17             and logan at 100% synthetic, SweetFoam leverages plant-based oils enabling a 20%
               reduction in carbon footprint versus petroleum-based synthetic alternatives.
18
               Tree Flyer's bouncy airy SweetFoam midsoles are 30% more responsive, 25%
19             lighter and require less energy to manufacture than our existing SweetFoam. A
20             strong testament to Allbirds' commitment to sustainable innovation and relentless
               improvement, while continuing to tap into the design white space of reductive
21             design to provide style versatility for even the best runners.

22             181.   Defendant Brown failed to disclose that the Company had overinvested in the
23   Flyer at the expense of its core products and that even though Allbirds marketed the Flyer to
24   runners, the shoe could not withstand the wear and tear of running due to its construction from
25   natural materials.
26
27

28                                            50
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 1          182.    Defendant Zwillinger also touted the Company’s retail footprint, once again

 2   stating that it is an “efficient means” of acquiring customers, increased brand awareness, and

 3   “provides a halo effect on the overall business”:

 4          Now I'll turn to our third growth pillar, the store portfolio and our broader
            distribution strategy. Our retail footprint is highly productive and serves as an
 5          efficient means to acquire new customers. Opening new stores drive increased
            brand awareness and provides a halo effect on the overall business, including an
 6
            increase in the absolute number and mix of repeat customers who shop with us both
 7          digitally and in stores.

 8          183.    Defendant Zwillinger did not inform investors that the Company’s store opening

 9   strategy was overly aggressive, unprofitable, and unlikely to lead to profitability, as was

10   discussed during multiple monthly meetings attended by Defendants Zwillinger, Brown, and

11   Bufano (see supra). Defendant Zwillinger also failed to mention that the new stores would not

12   benefit the “overall business” because Allbirds opened stores in close proximity to existing

13   locations raising the risk of market saturation and cannibalization, and did not develop effective

14   plans to manage inventory overage in the stores caused by its unsuccessful apparel products that

15   strayed from the Company’s core DNA, which the stores could not sell due to poor quality,

16   design, and marketing.

17          184.    In response to an analyst question regarding brand awareness, Defendant Bufano

18   stated that Allbirds had “great [brand] marketing” and “great brand building techniques” when

19   in reality, Allbirds had shifted focus away from brand marketing and cut the brand marketing

20   budget materially in favor of performance marketing:

21          We're continuing to see that trend really positively. And this is all about using that
            flywheel of distribution and then, great brand great brand building techniques
22          around partnerships and other campaigns that we're running.
23          So it's all about methodically building that with stores with great marketing. And
            as we're doing that we're seeing not only good awareness lift, but also good
24
            awareness lift in the right factors.
25
            185.    Regarding the Flyer launch, Defendant Brown stated:
26
            So I think all that consumer research is saying, yes sustainability matters, but it's
27          only in service of better product experiences. And that's our focus. And I think in
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 1          performance and in the flyer I think is a great example of us executing that at a
            very high level.
 2
            186.    However, Defendant Brown failed to reveal that the Flyer in fact did not represent
 3
     a great example “in performance” of Allbirds executing sustainability mixed with a better product
 4
     experience “at a very high level.” In reality, the Company overinvested in the Flyer at the expense
 5
     of its core products and marketed it to runners even though its natural material construction meant
 6
     it could not actually withstand the wear and tear of running.
 7
            187.    Defendant Zwillinger also represented on the call that Allbirds’ new store
 8
     openings flourished when they actually struggled given market saturation, cannibalization, and
 9
     unsuccessful new product offerings which also led to excess inventory:
10
            So during COVID we started signing leases in lifestyle centers in suburban malls
11          and whatnot. Those have performed really, really well. And those have proven to
12          be much more resilient regardless of the consumer behaviors, or restrictions in
            the regions and whatnot.
13
            So we are continuing to – we are continuing to focus on those types of real estate
14          transactions when we're signing leases and we're seeing quite a bit of positive uplift
            in those as we start up new stores as well. But that said, looking at the Flatiron
15          launch that we just did about a month ago it's been a really, really fantastic
            launch for us for a new store and gives us a lot of confidence in the comeback for
16
            Manhattan, which is I think a really nice bellwether for a lot of urban environments.
17          And if you couple that with our store in SoHo we're just seeing a nice trend and
            that gives us a lot of confidence to hit on those targets we mentioned.
18
            188.    The foregoing statements misled investors because the Company’s store opening
19
     strategy was overly aggressive, unprofitable, included opening stores too close to existing
20

21   locations raising the risk of market saturation and cannibalization, and did not include an

22   effective plan to manage inventory in the stores. Moreover, the new product offerings that

23   strayed from the Company’s core DNA, poor inventory management in its retail locations, and
24
     the Company’s underinvestment in brand marketing, raised the material risk that its stores would
25
     continue struggling to reach profitability.
26
27

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 1           189.    On May 11, 2022, the Company filed its quarterly Form 10-Q for the first quarter

 2   ended March 31, 2022 (“1Q22”), signed by Defendants Zwillinger and Bufano. Therein, Allbirds
 3
     identified “Continued Growth Within Existing Customer Base and Increasing Closet Share” as a
 4
     “Key Factor Affecting Our Performance.” Specifically, the 1Q22 stated:
 5
             In addition to seeking to acquire new customers, we continuously seek ways to
 6           engage with our large and growing base of over four million existing customers.
             We aim to grow our closet share within our existing customer base, especially as
 7
             we expand into new product categories and line extensions.
 8
                                                    ***
 9
             [I]t is critical that we maintain our long-trusted commitment to offering the most
10           comfortable, high performance, and sustainable products. Our continued growth
11           within our existing customer base will depend in part on our ability to continue to
             innovate with new products appealing to our existing customers.
12
             190.    Though acknowledging their awareness regarding the importance of continued focus
13
     on Allbirds’ core customer base, the Exchange Act Defendants falsely stated that they continuously
14
     seek ways to engage with core customers when in reality, the Company had been underinvesting in
15

16   core products and overinvesting in/overemphasizing new offerings that targeted a demographic

17   outside its core customer base. Moreover, Defendants failed to reveal that their new apparel
18   offerings already failed to appeal to existing customers and did not qualify as high performance
19
     given significant quality and fit issues.
20
             191.    Indeed, the 1Q22 conceded that if Allbirds failed to attract new customers and failed
21
     to appeal to existing customers with its product offerings, “our business, financial condition, results
22

23   of operations, and growth prospects will be harmed.” Specifically, the 1Q22 stated:

24           In addition, our future success depends in part on our ability to increase sales to
             our existing customers over time, as a significant portion of our net revenue is
25           generated from sales to existing customers, particularly those existing customers
             who are highly engaged and make frequent and/or large purchases of the products
26           we offer. If existing customers no longer find our products appealing, are not
27           satisfied with our customer service, or if we are unable to timely update our
             products to meet current trends and customer demands, our existing customers may
28                                                   53
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 1          not make purchases, or if they do, they may make fewer or smaller purchases in the
            future.
 2
            If we are unable to continue to attract new customers or our existing customers
 3          decrease their spending on the products we offer or fail to make repeat purchases
 4          of our products, our business, financial condition, results of operations, and
            growth prospects will be harmed.
 5
            192.    However, in so warning, the Exchange Act Defendants failed to reveal that these
 6
     risks had already come to pass. Allbirds’ new product offerings floundered given poor planning,
 7
     design, and quality, and failed to resonate with “existing customers” because the Company
 8
     marketed its new products to a younger demographic outside Allbirds’ core customer base.
 9
            193.    Additionally, the Exchange Act Defendants detailed the risk of Allbirds failing to
10
     remedy quality issues with its products but failed to reveal that from the time they launched
11
     apparel in October 2020, they knew about quality issues based on both employee and consumer
12
     feedback, which was discussed during monthly meetings attended by Defendants Brown,
13
     Zwillinger, and Bufano, among other senior executives, yet not only did Defendants fail to
14
     remedy these issues, they continued to launch additional apparel lines with similar results.
15
            If existing customers are dissatisfied with their product experience due to defects
16          in the materials or manufacturing of our products or other quality related concerns,
            then they may stop buying our products and may stop referring others to us, and we
17          could experience an increase in the rate of product returns. If we are unable to
            retain existing customers and attract new customers due to quality issues that we
18
            fail to identify and remedy, our growth prospects would be harmed and our
19          business could be adversely affected. If product quality issues are widespread or
            result in product recalls, our brand and reputation could be harmed, we could incur
20          substantial costs, and our results of operations and financial condition could be
            adversely affected.
21
            194.    The 1Q22 also described Allbirds’ marketing efforts, and emphasized the
22
     significance of brand awareness and retaining existing customers to that effort:
23
            Marketing expense consists of advertising costs incurred to acquire new customers,
24
            retain existing customers, and build our brand awareness. We expect marketing
25          expense to continue to increase in absolute dollars as we continue to expand our
            brand awareness, introduce new product innovations across multiple product
26          categories, and implement new marketing strategies.
27

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 1          195.    The foregoing statements misled investors because Allbirds had already shifted

 2   its focus away from brand awareness, cutting its brand marketing budget materially in favor of

 3   performance marketing.

 4          196.    Indeed, the 1Q22 described the Company’s marketing efforts in detail but failed

 5   to reveal that a majority of the marketing budget went to performance marketing at the expense

 6   of brand awareness, despite the fact that, as explained supra, Allbirds’ “brand” is integral to its

 7   success:

 8          We create differentiated brand marketing content and utilize performance
            marketing to drive customers from awareness to consideration to conversion, and
 9          promoting awareness of our brand and products is important to our ability to grow
            our business, drive customer engagement, and attract new customers. Our
10
            marketing strategy includes brand marketing campaigns across platforms,
11          including email, digital, display, site, direct-mail, streaming audio, television,
            social media, and our Allgood Collective, as well as performance marketing efforts,
12          including retargeting, paid search and product listing advertisements, paid social
            media advertisements, search engine optimization, personalized emails, and mobile
13          push notifications through our app.
14          197.     The 1Q22 also cited the Company’s plan to increase its store fleet as part of its
15   strategy to accelerate growth, citing historical profitability of its existing stores as its basis for
16   representing the new stores would similarly be “highly profitable”:
17          With strong pre-COVID-19 unit economics, our store operations have historically
18          been highly profitable, capital-efficient, and provided strong investment
            returns…We expect our stores to rebound to pre-COVID levels over time following
19          the broader reopening of the economy. Based on this pre-COVID performance,
            we believe our new stores will be highly profitable, have attractive payback
20          periods, serve as good capital investments, and be positioned well to take
            advantage of physical retail’s recovery from the pandemic.
21

22          198.    While predicting new stores would similarly thrive, the 1Q22 did not inform

23   investors that such expectation lacked a reasonable basis because the Company’s store opening

24   strategy was overly aggressive, unprofitable, included opening stores too close to existing
25   locations raising the risk of market saturation and cannibalization, and did not include an
26
     effective plan to manage inventory in the stores. Moreover, the new product offerings that
27

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 1   strayed from the Company’s core DNA, poor inventory management in its retail locations, and

 2   the Company’s underinvestment in brand marketing, raised the material risk that its stores would
 3
     continue struggling to reach profitability.
 4
               199.   Moreover, the 1Q22 included misleading risk warnings regarding inventory
 5
     levels:
 6
               Inventory levels in excess of customer demand may result in inventory write-offs,
 7
               donations by us of our unsold products, inventory write-downs, and/or the sale of
 8             excess inventory at discounted prices, any of which could cause our gross margin
               to suffer, impair the strength and exclusivity of our brand, and have an adverse
 9             effect on our results of operations, financial condition, and cash flows. For example,
               we have in the past donated excess unsold products to third parties and sold certain
10             of our products at discounted prices through our own channels and certain third-
11             party retailers.

12             Conversely, if we underestimate customer demand for our products and fail to place
               sufficient orders with our manufacturers in advance, then our manufacturers may
13             not be able to deliver products to meet our requirements and we may experience
               inventory shortages. Inventory shortages in our stores or third-party distribution
14             centers could result in delayed shipments to customers, lost sales, a negative
               customer experience, lower brand loyalty, and damage to our reputation and
15
               customer relationships, any of which could have an adverse effect on our results of
16             operations, financial condition, and cash flows.

17             200.   The foregoing risk warnings misled investors because Allbirds’ retail stores

18   already experienced inventory levels “in excess of customer demand” for new product offerings
19   that they could not sell due to poor quality, fit, and design, and because they did not resonate
20
     with new or existing customers, and Allbirds’ retail stores also already experienced “inventory
21
     shortages” of the core product offerings that its consumers actually wanted. The Exchange Act
22
     Defendants did not disclose that these risks manifested as a result of Allbirds’ overinvestment in
23

24   new products and underinvestment in core products as well as Allbirds’ overly aggressive pace

25   of store openings with insufficient inventory planning.

26             201.   On August 8, 2022, the Company issued a press release reporting its second
27
     quarter 2022 financial results. The press release announced a reduction in guidance targets but
28                                             56
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 1   failed to state that the Company had shifted its focus away from core customers. Defendant

 2   Bufano was quoted saying the following but did not disclose that the Company’s focus was at
 3
     the expense of core customers:
 4
             In this operating environment, we are focused on controlling what we can control
 5           and have implemented a series of Simplification Initiatives focused on automating
             and expanding our supply chain and streamlining our operating structure. These
 6           Simplification Initiatives are expected to generate annualized SG&A expense
             savings of $13 million to $15 million beginning in 2023 and significant cost of
 7
             revenue savings in future years. We will reinvest some of these savings into
 8           building brand momentum through product innovation, marketing, retail stores,
             and marquee third party partnerships. We are confident that these investments in
 9           the customer, coupled with our Simplification Initiatives, will help us navigate this
             consumer slowdown and position us for accelerated profitable growth when the
10           headwinds pass.
11
             202.   The foregoing statements misled investors because Allbirds had shifted its focus
12
     away from building brand awareness by significantly cutting its brand marketing budget in favor
13
     of performance marketing, and could not build brand momentum through product innovation
14
     because its new products, e.g. apparel and Flyer (which launched June 2022), did not resonate
15

16   with either new customers or Allbirds’ core customers.

17           203.   That same day, Allbirds held an earnings call with analysts during which
18   Defendants Zwillinger, Brown, and Bufano presented. On the call, Defendant Zwillinger touted
19
     the recent Flyer launch:
20
             As per product, Q2 also saw the highly successful launch of our first high-
21           performance running shoe, the Flyer.
22           204.   Defendant Brown similarly called the Flyer launch “successful” and
23   “extraordinary,” referencing “2.5 years researching, designing, testing and iterating to create a
24   running shoe that is a key building block of our performance journey.” Defendant Brown went
25   on to state:
26           And the response from both consumers and media alike has been overwhelmingly
             positive. In fact 43% of Flyer sales in the first 30 days post launch were to new
27
             customers, which we believe is a strong proof point that our performance offering
28                                           57
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 1          is not only resonating with our existing audience, but bringing new customers
            into the Allbirds' brand.
 2
            205.    However, the foregoing statements misled investors because the Flyer launch was
 3
     not “highly successful.” Defendants Zwillinger and Brown failed to reveal that the Company
 4
     had overinvested in the Flyer at the expense of its core products and marketed it as a high
 5
     performance running shoe to runners outside Allbirds’ target consumer “sweet spot,” even
 6
     though its natural material construction meant it could not actually withstand the wear and tear
 7
     of running, and thus did not resonate with either existing or new customers.
 8
            206.    Defendant Zwillinger went on to comprehensively discuss Allbirds’ retail stores,
 9
     including new store openings, which he portrayed as successful:
10
            Our stores are not only the best expression of the Allbirds brand, but are a fantastic
11          customer acquisition tool, all while delivering strong four-wall economics.
12
                                                      ***
13
            During the quarter, our US store sales increased nearly 120% year-over-year. We
14          opened seven stores in Q2, bringing us to a total of 46 as of June 30. To highlight
            a few. In the US, we opened in Fashion Island in Newport Beach in early June,
15          which is our first store in Orange County and seventh in Southern California and
            it has exceeded our expectations.
16
            As we build stores in the region, such as Southern California, we see meaningful
17          gains in awareness, drive strong store economics across the region, while
18          substantially lifting overall commerce across channels.

19          207.    The foregoing statements misled investors because, while portraying the

20   Company’s store expansion as a brand builder, fantastic customer acquisition tool, and a source

21   of strong four-wall economics, Defendant Zwillinger failed to disclose that most of Allbirds’

22   stores were not profitable, Allbirds opened stores at a far too aggressive pace, and its retail stores

23   floundered as a result of its overinvestment in new products that did not sell resulting in excess

24   inventory with no markdown or transfer strategy, and underinvested in core products and thus

25   had insufficient inventory of items consumers actually wanted.

26          208.    Defendant Brown also touted some of Allbirds’ new apparel offerings:

27

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 1          When we decided to connect our successful footwear franchises to apparel
            offerings, we leverage unique natural materials to deliver next to skin comfort, a
 2          consistent hallmark of the Allbirds brand. This is reflected in the success of some
            of our core apparel offerings including our socks, underwear, our classic T-
 3
            shirts, and sweats, which continue to perform well as expansions of our material
 4          platforms and articulations of supernatural comfort.

 5   However, on the same call Defendant Brown also represented that, “The innovation and product

 6   focus remains vastly on footwear.”
 7          209.    The foregoing statements misled investors because apparel was not successful
 8   from the time of its October 2020 launch given poor planning, design, fit, and quality, which
 9
     Defendants Brown, Zwillinger, and Bufano knew based on their attendance at numerous
10   meetings throughout the Class Period where attendees discussed the failure of apparel at length.
11   Moreover, in reality, the Company overinvested in new product offerings like apparel and
12   underinvested, and did not focus sufficiently, on core products like footwear.
13          210.    Addressing marketing spend on the call, Defendant Zwillinger stated:
14
            We've done such a good job of early diversification of the media spend that we
15          have that we come back to a place where our overall business can still have leverage
            on the marketing line item, while we're investing and doubling down in brand.
16          And that to us is the right long-term formula, so that we can be adaptive and
            dynamic to the current situation, while not sacrificing any of the long-term
17
            possibility that this brand has.
18
            211.    However, not only did Allbirds not “double down” in brand, they cut the brand
19
     marketing budget markedly, allocating the lions’ share of the budget to performance marketing,
20
     which is not about long term ROI or brand awareness.
21
            212.    On August 9, 2022, Allbirds filed its quarterly Form 10-Q for the second quarter
22
     ended June 30, 2022 (“2Q22”), signed by Defendants Zwillinger and Bufano. Therein, Allbirds
23
     identified “Continued Growth Within Existing Customer Base and Increasing Closet Share” as a
24

25   “Key Factor Affecting Our Performance.” Specifically, the 2Q22 stated:

26          In addition to seeking to acquire new customers, we continuously seek ways to
            engage with our large and growing base of over four million existing customers.
27

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 1           We aim to grow our closet share within our existing customer base, especially as
             we expand into new product categories and line extensions.
 2
                                                   ***
 3

 4           [I]t is critical that we maintain our long-trusted commitment to offering the most
             comfortable, high performance, and sustainable products. Our continued growth
 5           within our existing customer base will depend in part on our ability to continue to
             innovate with new products appealing to our existing customers.
 6
             213.    Though acknowledging their awareness regarding the importance of continued focus
 7

 8   on Allbirds’ core customer base, the Exchange Act Defendants falsely stated that they continuously

 9   seek ways to engage with core customers when in reality, the Company had been underinvesting in

10   core products and had overinvested in/overemphasized new offerings that targeted a demographic
11
     outside its core customer base. Moreover, the Exchange Act Defendants failed to reveal that their
12
     new product offerings already failed to resonate with existing customers and did not qualify as high
13
     performance given significant quality and fit issues.
14
             214.    Indeed, the 2Q22 conceded that if Allbirds failed to attract new customers and failed
15

16   to appeal to existing customers with its product offerings, “our business, financial condition, results

17   of operations, and growth prospects will be harmed.” Specifically, the 2Q22 stated:
18           In addition, our future success depends in part on our ability to increase sales to
             our existing customers over time, as a significant portion of our net revenue is
19
             generated from sales to existing customers, particularly those existing customers
20           who are highly engaged and make frequent and/or large purchases of the products
             we offer. If existing customers no longer find our products appealing, are not
21           satisfied with our customer service, or if we are unable to timely update our
             products to meet current trends and customer demands, our existing customers may
22           not make purchases, or if they do, they may make fewer or smaller purchases in the
23           future.

24           If we are unable to continue to attract new customers or our existing customers
             decrease their spending on the products we offer or fail to make repeat purchases
25           of our products, our business, financial condition, results of operations, and
             growth prospects will be harmed.
26
27

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 1           215.       However, in so warning, the Exchange Act Defendants failed to reveal that these

 2   risks had already come to pass. Allbirds’ new product offerings floundered given poor planning,

 3   design, and quality, and failed to appeal to “existing customers” because the Company marketed

 4   its new products to a younger demographic outside Allbirds’ core customer base.

 5           216.       Additionally, the Exchange Act Defendants detailed the risk of Allbirds failing to

 6   remedy quality issues with its products but failed to reveal that from the time they launched

 7   apparel in October 2020, they knew about quality issues based on both employee and consumer

 8   feedback, which was discussed during monthly meetings attended by Defendants Brown,

 9   Zwillinger, and Bufano, among other senior executives, yet not only did the Exchange Act

10   Defendants fail to remedy these issues, they continued to launch additional apparel lines with

11   similar results.

12           If existing customers are dissatisfied with their product experience due to defects
             in the materials or manufacturing of our products or other quality related concerns,
13           then they may stop buying our products and may stop referring others to us, and we
             could experience an increase in the rate of product returns. If we are unable to
14
             retain existing customers and attract new customers due to quality issues that we
15           fail to identify and remedy, our growth prospects would be harmed and our
             business could be adversely affected. If product quality issues are widespread or
16           result in product recalls, our brand and reputation could be harmed, we could incur
             substantial costs, and our results of operations and financial condition could be
17           adversely affected.
18           217.       The 2Q22 also described Allbirds’ marketing efforts, and emphasized the
19   significance of brand awareness and retaining existing customers to that effort:
20           Marketing expense consists of advertising costs incurred to acquire new customers,
21           retain existing customers, and build our brand awareness. We expect marketing
             expense to continue to increase in absolute dollars as we continue to expand our
22           brand awareness, introduce new product innovations across multiple product
             categories, and implement new marketing strategies.
23
             218.       The foregoing statements misled investors because Allbirds had already shifted
24
     its focus away from brand awareness, cutting its brand marketing budget materially in favor of
25
     performance marketing.
26
27

28                                              61
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 1             219.   Indeed, the 2Q22 described the Company’s marketing efforts in detail but failed

 2   to reveal that a majority of the marketing budget went to performance marketing at the expense

 3   of brand awareness, despite the fact that, as explained supra, Allbirds’ “brand” is integral to its

 4   success:

 5             We create differentiated brand marketing content and utilize performance
               marketing to drive customers from awareness to consideration to conversion, and
 6             promoting awareness of our brand and products is important to our ability to grow
               our business, drive customer engagement, and attract new customers. Our
 7
               marketing strategy includes brand marketing campaigns across platforms,
 8             including email, digital, display, site, direct-mail, streaming audio, television,
               social media, and our Allgood Collective, as well as performance marketing efforts,
 9             including retargeting, paid search and product listing advertisements, paid social
               media advertisements, search engine optimization, personalized emails, and mobile
10             push notifications through our app.
11             220.    The 2Q22 no longer referenced a thriving retail store fleet nor made assurances
12   that “new stores will be highly profitable.
13             221.   Moreover, the 2Q22 included misleading risk warnings regarding inventory
14
     levels:
15
               Inventory levels in excess of customer demand may result in inventory write-
16             downs, inventory write-offs, donations by us of our unsold products, and/or the sale
               of excess inventory at discounted prices, any of which could cause our gross margin
17
               to suffer, impair the strength and exclusivity of our brand, and have an adverse
18             effect on our results of operations, financial condition, and cash flows. For example,
               we have in the past donated excess unsold products to third parties and sold certain
19             of our products at discounted prices through our own channels and certain third-
               party retailers. Additionally, for the three months ended June 30, 2022, we
20             recognized a non-cash inventory write-down, primarily for certain first-generation
               apparel products.
21

22             Conversely, if we underestimate customer demand for our products and fail to place
               sufficient orders with our manufacturers in advance, then our manufacturers may
23             not be able to deliver products to meet our requirements and we may experience
               inventory shortages. Inventory shortages in our stores or third-party distribution
24             centers could result in delayed shipments to customers, lost sales, a negative
               customer experience, lower brand loyalty, and damage to our reputation and
25             customer relationships, any of which could have an adverse effect on our results of
26             operations, financial condition, and cash flows.

27

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 1          222.    The foregoing risk warnings misled investors because Allbirds’ retail stores

 2   already experienced inventory levels “in excess of customer demand” for new product offerings
 3
     that they could not sell due to poor quality, fit, and design, and because they did not resonate
 4
     with new or existing customers, and Allbirds’ retail stores also already experienced “inventory
 5
     shortages” of the core product offerings that its consumers actually wanted. The Exchange Act
 6
     Defendants did not disclose that these risks manifested as a result of Allbirds’ overinvestment in
 7

 8   new products and underinvestment in core products as well as Allbirds’ overly aggressive pace

 9   of store openings with insufficient inventory planning.
10          223.    On November 9, 2022, the Company filed its quarterly Form 10-Q for the third
11
     quarter ended September 30, 2022 (“3Q22”), signed by Defendants Zwillinger and Bufano.
12
     Therein, Allbirds identified “Continued Growth Within Existing Customer Base and Increasing
13
     Closet Share” as a “Key Factor Affecting Our Performance.” Specifically, the 3Q22 stated:
14

15          In addition to seeking to acquire new customers, we continuously seek ways to
            engage with our large and growing base of over four million existing customers.
16          We aim to grow our closet share within our existing customer base, especially as
            we expand into new product categories and line extensions.
17
                                                 ***
18

19          [I]t is critical that we maintain our long-trusted commitment to offering the most
            comfortable, high performance, and sustainable products. Our continued growth
20          within our existing customer base will depend in part on our ability to continue to
            innovate with new products appealing to our existing customers.
21
            224.    Though acknowledging the importance of continued focus on Allbirds’ core
22

23   customer base, Defendants falsely stated that they continuously seek ways to engage with core

24   customers when in reality, the Company had been underinvesting in core products and had

25   overinvested in/overemphasized new offerings that targeted a demographic outside its core
26   customer base. Moreover, Defendants failed to reveal that their new product offerings already failed
27

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 1   to appeal to existing customers and did not qualify as high performance given significant quality

 2   and fit issues.
 3
             225.      Indeed, the 3Q22 conceded that if Allbirds failed to attract new customers and failed
 4
     to appeal to existing customers with its product offerings, “our business, financial condition, results
 5
     of operations, and growth prospects will be harmed.” Specifically, the 3Q22 stated:
 6
             In addition, our future success depends in part on our ability to increase sales to
 7
             our existing customers over time, as a significant portion of our net revenue is
 8           generated from sales to existing customers, particularly those existing customers
             who are highly engaged and make frequent and/or large purchases of the products
 9           we offer. If existing customers no longer find our products appealing, are not
             satisfied with our customer service, or if we are unable to timely update our
10           products to meet current trends and customer demands, our existing customers may
11           not make purchases, or if they do, they may make fewer or smaller purchases in the
             future.
12
             If we are unable to continue to attract new customers or our existing customers
13           decrease their spending on the products we offer or fail to make repeat purchases
             of our products, our business, financial condition, results of operations, and
14           growth prospects will be harmed.
15           226.      However, in so warning, the Exchange Act Defendants failed to reveal that these
16   risks had already come to pass. Allbirds’ new product offerings floundered given poor planning,
17   design, and quality, and failed to appeal to “existing customers” because the Company marketed
18   its new products to a younger demographic outside Allbirds’ core customer base.
19           227.      Additionally, Defendants detailed the risk of Allbirds failing to remedy quality
20   issues with its products but failed to reveal that from the time they launched apparel in October
21   2020, they knew about quality issues based on both employee and consumer feedback, which
22   was discussed during monthly meetings attended by Defendants Brown, Zwillinger, and Bufano,
23   among other senior executives, yet not only did the Exchange Act Defendants fail to remedy
24   these issues, they continued to launch additional apparel lines with similar results.
25           If existing customers are dissatisfied with their product experience due to defects
26           in the materials or manufacturing of our products or other quality related concerns,
             then they may stop buying our products and may stop referring others to us, and we
27           could experience an increase in the rate of product returns. If we are unable to

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 1             retain existing customers and attract new customers due to quality issues that we
               fail to identify and remedy, our growth prospects would be harmed and our
 2             business could be adversely affected. If product quality issues are widespread or
               result in product recalls, our brand and reputation could be harmed, we could incur
 3
               substantial costs, and our results of operations and financial condition could be
 4             adversely affected.

 5             228.   The 3Q22 also described Allbirds’ marketing efforts, and emphasized the

 6   significance of brand awareness and retaining existing customers to that effort:

 7             Marketing expense consists of advertising costs incurred to acquire new customers,
               retain existing customers, and build our brand awareness. We expect marketing
 8             expense to continue to increase in absolute dollars as we continue to expand our
               brand awareness, introduce new product innovations across multiple product
 9
               categories, and implement new marketing strategies.
10
               229.   The foregoing statements misled investors because Allbirds had already shifted
11
     its focus away from brand awareness, cutting its brand marketing budget materially in favor of
12
     performance marketing.
13
               230.   Indeed, the 3Q22 described the Company’s marketing efforts in detail but failed
14
     to reveal that a majority of the marketing budget went to performance marketing at the expense
15
     of brand awareness, despite the fact that, as explained supra, Allbirds’ “brand” is integral to its
16
     success:
17
               We create differentiated brand marketing content and utilize performance
18             marketing to drive customers from awareness to consideration to conversion, and
               promoting awareness of our brand and products is important to our ability to grow
19             our business, drive customer engagement, and attract new customers. Our
               marketing strategy includes brand marketing campaigns across platforms,
20
               including email, digital, display, site, direct-mail, streaming audio, television,
21             social media, and our Allgood Collective, as well as performance marketing efforts,
               including retargeting, paid search and product listing advertisements, paid social
22             media advertisements, search engine optimization, personalized emails, and mobile
               push notifications through our app.
23
               231.   Moreover, the 3Q22 included misleading risk warnings regarding inventory
24

25   levels:

26             Inventory levels in excess of customer demand may result in inventory write-
               downs, inventory write-offs, donations by us of our unsold products, and/or the sale
27             of excess inventory at discounted prices, any of which could cause our gross margin
28                                             65
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 1          to suffer, impair the strength and exclusivity of our brand, and have an adverse
            effect on our results of operations, financial condition, and cash flows. For example,
 2          we have in the past donated excess unsold products to third parties and sold certain
            of our products at discounted prices through our own channels and certain third-
 3
            party retailers. Additionally, in the second and third quarters of 2022, we
 4          recognized non-cash inventory write-downs, primarily for certain first-generation
            apparel products.
 5
            Conversely, if we underestimate customer demand for our products and fail to place
 6          sufficient orders with our manufacturers in advance, then our manufacturers may
            not be able to deliver products to meet our requirements and we may experience
 7          inventory shortages. Inventory shortages in our stores or third-party distribution
 8          centers could result in delayed shipments to customers, lost sales, a negative
            customer experience, lower brand loyalty, and damage to our reputation and
 9          customer relationships, any of which could have an adverse effect on our results of
            operations, financial condition, and cash flows.
10
            232.    The foregoing risk warnings misled investors because Allbirds’ retail stores
11

12   already experienced inventory levels “in excess of customer demand” for new product offerings

13   that they could not sell due to poor quality, fit, and design, and because they did not resonate

14   with new or existing customers, and Allbirds’ retail stores also already experienced “inventory
15   shortages” of the core product offerings that its consumers actually wanted. The Exchange Act
16
     Defendants did not disclose that these risks manifested as a result of Allbirds’ overinvestment in
17
     new products and underinvestment in core products as well as Allbirds’ overly aggressive pace
18
     of store openings with insufficient inventory planning.
19

20          233.    The above statements identified in ¶¶ 134-231 were materially false and/or

21   misleading, and failed to disclose material adverse facts about the Company’s business,

22   operations, and prospects. Specifically, the Exchange Act Defendants failed to disclose to
23
     investors: (i) that Allbirds was overemphasizing and overinvesting in new products, including
24
     apparel, that extended beyond the Company’s core offerings; (ii) that the Company’s non-core
25
     products had a narrower appeal and did not resonate with customers as well as the Company’s
26
     core products; (iii) that Allbirds was underinvesting in its core consumers’ favorite products to
27

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 1   push the Company’s newer products with narrower appeal; (iv) that underinvesting in Allbirds’

 2   core products was negatively impacting the Company’s sales; (v) that the Company pursued an
 3
     overly aggressive and unprofitable pace of store openings though its existing stores struggled and
 4
     its new stores failed to attain profitability due to ill-received product offerings, market saturation,
 5
     and cannibalization; (vi) Allbirds’ retail stores had significant inventory issues including
 6
     insufficient inventory of core products that customers wanted and excess inventory of new
 7

 8   products that did not resonate with consumers, and thus did not sell; (vii) that the Company

 9   shifted its marketing strategy toward performance marketing at the expense of brand marketing
10   despite the significance of brand awareness to its success; and (viii) that, as a result of the
11
     foregoing, Defendants’ positive statements about the Company’s business, operations, and
12
     prospects were materially misleading and/or lacked a reasonable basis.
13
                                          Regulation S-K Item 105
14
             234.    Allbirds’ annual and quarterly reports were subject to the disclosure requirements
15
     of Item 105 of Regulation S-K, 17 C.F.R. §229.105, which governs disclosure of risk factors and
16
     requires, among other things, that an issuer “ provide under the caption ‘Risk Factors’ a
17
     discussion of the material factors that make [the securities] speculative or risky.”
18
             235.    Defendants violated their disclosure duties imposed by Item 105 of Regulation
19
     S-K, 17 C.F.R. §229.105 by failing to disclose the material risk that Allbirds’ underinvestment
20
     in core products and overinvestment in new products, the inventory shortages of core products
21
     and inventory excess of new products, its overly aggressive and unprofitable pace of store
22
     openings, and its evisceration of the brand marketing budget had and would continue to
23
     negatively impact the Company’s financial results.
24
                                          Regulation S-K Item 303
25
             236.    Allbirds’ annual and quarterly reports filed with the SEC were subject to the
26
     disclosure requirements of Item 303 of Regulation S-K, which among other things requires
27

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 1   disclosure of “any known trends or uncertainties that have had or that are reasonably likely to

 2   have a material favorable or unfavorable impact on net sales or revenues or income from

 3   continuing operations.” 17 C.F.R. § 229.303(b)(2). Companies must also disclose events that

 4   the registrant knows will “cause a material change in the relationship between costs and

 5   revenues” and “any unusual or infrequent events or transactions or any significant economic

 6   changes that materially affected the amount of reported income from continuing operations and,

 7   in each case, indicate the extent to which income was so affected.” 17 C.F.R. § 229.303(b)(2).

 8          237.    In violation of Item 303, Allbirds’ annual and quarterly reports failed to disclose

 9   the known trends that Allbirds’ underinvestment in core products and overinvestment in new
10
     products, the inventory shortages of core products and inventory excess of new products, its
11
     overly aggressive and unprofitable pace of store openings, and its evisceration of the brand
12
     marketing budget were having a material adverse impact on its business and financial
13
     results. Allbirds had a duty to disclose these material adverse trends under Item 303 of
14

15   Regulation S-K, yet failed to do so.

16                                          The Truth Emerges
17          238.    On March 9, 2023, after the market closed, Allbirds issued a press release
18
     announcing that Defendant Bufano was stepping down as the Company’s CFO and that Annie
19
     Mitchell was taking his place, effective April 24, 2023.
20
            239.    Also on March 9, 2023, after the market closed, Allbirds issued a press release
21

22   reporting fourth quarter and full year 2022 financial results (the “4Q22 Press Release”), which

23   revealed, among other things, a full year 2022 net loss of $101.4 million, a fourth quarter net loss

24   of $24.9 million, a 13% decrease in net revenue as compared to the fourth quarter of 2021, a full
25   year 2022 adjusted EBITDA loss of $60.4 million, and a fourth quarter 2022 adjusted EBITDA
26
27

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 1   loss of $12.5 million that included “a $3.5 million loss primarily associated with the previously

 2   announced discontinuation of certain first-generation apparel.”
 3
            240.    In discussing the cause of the disappointing results, Allbirds admitted to its
 4
     underinvestment in brand marketing and its core consumer, as well as its overly aggressive pace
 5
     of store openings. Specifically, Allbirds set forth a “strategic transformation plan to reignite
 6
     growth in the coming years, as well as improve capital efficiency, and drive profitability.” In
 7

 8   addition, to improving cost savings and capital efficiency as well as evaluating its international

 9   go-to-market strategy, Allbirds emphasized that it needs to:
10            •      Reignite product and brand
11
                     o Executing a highly-focused brand strategy that reconnects with core
12                     consumers.

13            •      Optimize U.S. stores and slow pace of openings.
14
                     o Driving traffic and conversion to our U.S. fleet and selectively
15                     expanding our third party wholesale channel.

16          241.    Also on March 9, 2023, after the market closed, the Company held an earnings
17   call with analysts to discuss the disappointing results. Defendant Zwillinger admitted that, for
18
     at least two years, the Company had “made some strategic and executional missteps that
19
     impacted results.” Expanding on this, Defendant Zwillinger stated:
20
            However, in this journey we also made some missteps. First, we overemphasized
21          products that extended beyond our core DNA. And as a result, some products and
22          colors have had narrower appeal than expected. Because we were spending
            significant time and resources on these new products that did not resonate well,
23          we underinvested in our core consumers’ favorite products. Finally, we did not
            increase our brand awareness to the level that we anticipated.
24
            In essence, over the past couple of years, we shifted our focus away from our core
25          consumer and we must refocus sharply on this large and attract [sic] group. Taking
            a look at Q4 specifically this dynamic was exacerbated by the fact that the final weeks
26
            of December were exceptionally promotional and we did not sufficiently promote to
27          meet consumers’ expectations. As a result, Q4 was the first quarter of negative growth

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 1          in our history. We are disappointed with these results. And we know that, as we look
            ahead the status quo is not enough.
 2
            242.    In other words, since before the IPO (as multiple CWs corroborated), Defendants
 3
     underinvested in Allbirds’ core products, shifted focus away from its core consumer,
 4
     overinvested in new products (e.g., apparel, the Flyer and Pacer) that did not resonate with
 5
     consumers, overemphasized products that extended beyond Allbirds’ core DNA (e.g., footwear
 6
     like the Dasher and Runner), and failed to increase brand awareness due to its evisceration of the
 7
     Company’s brand marketing budget. At no point in either the Registration Statement nor in the
 8
     public statements Defendants issued thereafter did they alert the market to these “missteps,”
 9
     instead representing that Allbirds continued to focus on its core consumer, had successfully
10
     launched new product offerings, and continued to focus on brand awareness.
11
            243.    After admitting to these “missteps,” which Defendants Zwillinger, Brown and
12
     Bufano each knew about given their hands on managerial style, decision making control, and
13
     participation in multiple meetings that met at least monthly where these “missteps” were
14
     continuously discussed with them, Defendant Zwillinger described the strategic transformation
15
     plan that had been set forth in the 4Q22 Press Release. Regarding the initiative to “reignite
16
     product and brand,” Defendant Zwillinger stated as follows:
17
            Roughly two years ago, and after a period of considerable growth, we made a
18          decision to diversify our product beyond the core DNA of what has made us one of
19          the most beloved brands in footwear in an effort to reach a younger fashion forward
            and performance-oriented consumer. We overinvested in seasonal trend colors and
20          new silhouettes like the Pacer and Flyer.

21          Ultimately, we have come to recognize that our overinvestment on newness came
            at the expense of focus on consumers who are loyal to our brands and on
22          nurturing our core franchises such as the Runner and Dasher.
23          244.    Later on the call, in response to an analyst question, Defendant Zwillinger pointed
24   to the Flyer and Pacer launches as two examples of products that did not resonate with core
25   consumers and where Allbirds “missed execution,” both in terms of “product development” and
26   marketing:
27

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 1          So first on the Pacer that was both the product execution and a marketing campaign
            that was really oriented around a younger consumer really outside the sweet spot
 2          of the group of people who have really fell in love with us and love the core
            franchise for what we do.
 3

 4          And similarly with the Flyer that was a product that was really marketed with heavy
            orientation around the technical running performance that that item delivers. And
 5          it's a great product. We just found out that the customers that were -- that are really
            in our sweet spot aren't resonating with a core technical performance messaging.
 6          And some of that missed execution by us.
 7          245.    Moreover, as part of the commitment toward reigniting product and brand, and
 8   conceding the need to spend additional marketing funds on brand awareness, Defendant Bufano
 9   explained that, “we plan to spend additional US marketing dollars on a year-over-year basis in
10   2023 to support our brand…”
11          246.    Defendant Zwillinger also addressed Allbirds’ decision to slow down the
12
     aggressive pace of store openings:
13
            After a year in which we opened 19 new stores in the US we are significantly
14          slowing the pace of new store openings in 2023. This year we plan to open three
            stores in the US against leases signed in early 2022 and rebalance our focus from
15          opening new stores towards driving profitability and new customer acquisition
16          from our existing fleet, including the roughly half of our US stores that have been
            opened for less than a year.
17
            247.    With the opening of those 19 stores, Allbirds increased its store count by 80%,
18
     yet its store revenues grew a paltry 8% in the fourth quarter of 2022. Conceding their store
19
     opening spree did not work, Allbirds committed to only opening three new stores in 2023 and
20

21   focusing on improving the productivity of existing locations.

22          248.    On this news, the Company’s stock price fell $1.11, or 47%, to close at $1.25 per
23   share on March 10, 2023, thereby injuring investors.
24
            249.    As analyst Wedbush noted, where other emerging footwear brands have
25
     demonstrated exceptional growth, Allbirds has lagged:
26
            The thing that makes this even more stark is that several other “emerging” footwear
27          brands are putting up exceptional growth, on top of a larger revenue base than
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 1           BIRD. On Running, Hoka, and HeyDude all grew revenues in the 55-70% range in
             2022 (with multiple guidance raises for each), and each of them had 2021 revenue
 2           bases that were 2x-3x the size of BIRD’s 2021 revenues. Thus, we’re seeing a stark
             difference in performance between BIRD and other “high growth” footwear brands.
 3

 4           250.    Defendants’ revelations, detailing their many internal missteps in the last couple

 5   of years, explain that lag.

 6           251.    Following these revelations, Morgan Stanley stated that it would review its
 7   estimates and price targets in light of brand awareness concerns, concerns that Allbirds’ TAM is
 8
     much smaller than initially contemplated, and due to “bloated” inventory levels as a result of the
 9
     Company’s “lower-than-expected sell-thru of non-core product.” Subsequently, on April 24,
10
     2023, Morgan Stanley slashed its price target for Allbirds from $4 down to $1.
11

12           252.    On May 4, 2023, the Company announced amidst a series of layoffs that Defendant

13   Brown would step down as co-CEO effective immediately, and would transition into the role of

14   Chief Innovation Officer, a non-executive role.
15
             253.    By the commencement of this action, the Company’s stock price had closed as
16
     low as $1.06 per share, a 92.9% decline from the Company’s $15.00 per share IPO price.
17
                             SECTION 10(b) SCIENTER ALLEGATIONS
18
             254.    As alleged herein, Defendants acted with scienter since Defendants knew that the
19
     public documents and statements issued or disseminated in the name of the Company were
20
     materially false and/or misleading; knew that such statements or documents would be issued or
21
     disseminated to the investing public; and knowingly and substantially participated or acquiesced
22
     in the issuance or dissemination of such statements or documents as primary violations of the
23
     federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by
24
     virtue of their receipt of information reflecting the true facts regarding Allbirds, their control
25
     over, and/or receipt and/or modification of Allbirds’ allegedly materially misleading
26
     misstatements and/or their associations with the Company which made them privy to confidential
27

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 1   proprietary information concerning Allbirds, participated in the fraudulent scheme alleged

 2   herein.

 3             255.   CW4 and CW7 both described Defendants Zwillinger and Brown’s managerial

 4   stye as very hands on and controlling. As CW4 explained, Allbirds was “the Tim and Joe show,”
 5
     and CW7 confirmed that “no decisions were made without them.”
 6
               256.   Numerous CWs confirmed that the Individual Defendants attended countless
 7
     meetings during which they were informed that apparel had quality and fit issues, apparel did not
 8
     resonate with customers, retail stores struggled to sell apparel and had excess inventory, Allbirds
 9

10   retail fleet was not profitable, and Allbirds needed to grow brand awareness and thus needed to

11   correct its lopsided marketing budget. These meetings took place both before and during the Class
12   Period and included:
13
                  •   Monthly sales and operations meeting, attended by approximately ten participants
14
                      including the Individual Defendants;
15
                  •   Monthly real estate meeting, attended by approximately twenty participants
16

17                    including the Individual Defendants;

18                •   Monthly retail store performance meeting, attended by approximately twenty
19                    participants including the Individual Defendants;
20
                  •   Monthly apparel meeting; attended by approximately twenty participants including
21
                      the Individual Defendants;
22
                  •   Monthly marketing meetings, attended by approximately thirty participants
23

24                    including the Individual Defendants;

25                •   Monthly leadership meetings, attended by the Individual Defendants and Travis
26                    Boyce;
27
                  •   Monthly “all hands” meetings;
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 1              •   Flock Week in January, for the purpose of reviewing financials and goal setting for
 2                  the year; and
 3
                •   Back to the Birdhouse in September, to check in on how they performed in the
 4
                    previous year and to look ahead to the following year.
 5
            257.    In the corrective disclosure, Defendants admitted that they “made some strategic
 6

 7   and executional missteps that impacted results,” (i.e., the issues discussed at the many meetings

 8   described supra) which included that they: 1) “overemphasized products that extended beyond our

 9   core DNA;” 2) “were spending significant time and resources on these new products that did not
10
     resonate well;” 3) “overinvested in seasonal trend colors and new silhouettes;” 4) “underinvested
11
     in our core consumers’ favorite products,” 5) “shifted our focus away from our core consumer;” 6)
12
     “did not increase our brand awareness,” and 7) opened stores too aggressively and thus needed to
13
     “slow[] the pace of new store openings.”
14

15          258.    On March 9, 2023, after the market closed, Allbirds issued a press release

16   announcing that Defendant Bufano was stepping down as the Company’s CFO and that Annie
17   Mitchell was taking his place, effective April 24, 2023.
18
            259.    On May 4, 2023, the Company announced amidst a series of layoffs that Defendant
19
     Brown would step down as co-CEO effective immediately, and would transition into the role of
20
     Chief Innovation Officer, a non-executive role.
21

22          260.    During the Class Period, Defendant Zwillinger sold 166,665 shares of Allbirds

23   stock for proceeds of $461,786. All of these sales took place between January 25, 2023 and

24   February 23, 2023. In other words, Defendant Zwillinger disposed of his holdings in the weeks

25   leading up to the March 9, 2023 corrective disclosure.

26
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 1          261.    During the Class Period, Defendant Bufano sold 32,739 shares of Allbirds stock

 2   for proceeds of $103,408 in three separate sales, the last of which occurred on March 2, 2023,

 3   seven days before the corrective disclosure.

 4          262.    In 2022, Defendants Zwillinger and Brown each received a $365,462 salary,

 5   $2,012,471 in stock awards, and $2,059,226 in option awards. Defendant Bufano received a

 6   $395,557 salary, and $1,296,687 in stock awards.

 7                         PLAINTIFF’S CLASS ACTION ALLEGATIONS

 8          263.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil
 9
     Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that
10
     purchased or otherwise acquired Allbirds: (a) Class A common stock pursuant and/or traceable
11
     to the Company’s false and/or misleading Registration Statement issued in connection with the
12
     Company’s IPO; and/or (b) securities between November 4, 2021 and March 9, 2023, inclusive;
13

14   and who were damaged thereby (the “Class”). Excluded from the Class are Defendants, the

15   officers and directors of the Company, at all relevant times, members of their immediate families
16   and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants
17
     have or had a controlling interest.
18
            264.    The members of the Class are so numerous that joinder of all members is
19
     impracticable. While the exact number of Class members is unknown to Plaintiffs at this time
20

21   and can only be ascertained through appropriate discovery, Plaintiffs believe that there are at

22   least hundreds or thousands of members in the proposed Class. In the IPO, the Company sold

23   approximately 16,850,799 shares of Class A common stock at a price of $15.00 per share.
24   Moreover, record owners and other members of the Class may be identified from records
25
     maintained by Allbirds or its transfer agent and may be notified of the pendency of this action by
26
     mail, using the form of notice similar to that customarily used in securities class actions.
27

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 1          265.    Plaintiffs’ claims are typical of the claims of the members of the Class as all

 2   members of the Class are similarly affected by Defendants’ wrongful conduct in violation of
 3
     federal law that is complained of herein.
 4
            266.    Plaintiffs will fairly and adequately protect the interests of the members of the
 5
     Class and has retained counsel competent and experienced in class and securities litigation.
 6
            267.    Common questions of law and fact exist as to all members of the Class and
 7

 8   predominate over any questions solely affecting individual members of the Class. Among the

 9   questions of law and fact common to the Class are:
10          (a)     whether the federal securities laws were violated by Defendants’ acts as alleged
11
                    herein;
12
            (b)     whether the Registration Statement, statements made by Defendants to the
13
                    investing public in connection with the Company’s IPO, and statements made by
14

15                  Defendants to the investing public during the Class Period omitted and/or

16                  misrepresented material facts about the business, operations, and prospects of

17                  Allbirds; and
18          (c)     to what extent the members of the Class have sustained damages and the proper
19
                    measure of damages.
20
            268.    A class action is superior to all other available methods for the fair and efficient
21
     adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the
22

23   damages suffered by individual Class members may be relatively small, the expense and burden of

24   individual litigation makes it impossible for members of the Class to individually redress the wrongs

25   done to them. There will be no difficulty in the management of this action as a class action
26
27

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 1          269.    The market for Allbirds’ securities was open, well-developed, and efficient at all

 2   relevant times. As a result of the materially false and/or misleading statements and/or failures to
 3
     disclose, Allbirds’ securities traded at artificially inflated prices during the Class Period. On
 4
     November 18, 2021, the Company’s share price closed at a Class Period high of $26.76 per share.
 5
     Plaintiffs and other members of the Class purchased or otherwise acquired the Company’s
 6
     securities relying upon the integrity of the market price of Allbirds’ securities and market
 7

 8   information relating to Allbirds, and have been damaged thereby.

 9          270.    During the Class Period, the artificial inflation of Allbirds’ shares was caused by
10   the material misrepresentations and/or omissions particularized in this Complaint causing the
11
     damages sustained by Plaintiffs and other members of the Class. As described herein, during the
12
     Class Period, Defendants made or caused to be made a series of materially false and/or
13
     misleading statements about Allbirds’ business, prospects, and operations. These material
14

15   misstatements and/or omissions created an unrealistically positive assessment of Allbirds and its

16   business, operations, and prospects, thus causing the price of the Company’s securities to be

17   artificially inflated at all relevant times, and when disclosed, negatively affected the value of the
18   Company shares. Defendants’ materially false and/or misleading statements during the Class
19
     Period resulted in Plaintiffs and other members of the Class purchasing the Company’s securities
20
     at such artificially inflated prices, and each of them has been damaged as a result.
21
            271.    At all relevant times, the market for Allbirds’ securities was an efficient market
22

23   for the following reasons, among others:

24          (a)     Allbirds shares met the requirements for listing, and were listed and actively

25   traded on the NASDAQ, a highly efficient and automated market;
26
27

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 1          (b)     As a regulated issuer, Allbirds filed periodic public reports with the SEC and/or

 2   the NASDAQ;
 3
            (c)     Allbirds regularly communicated with public investors via established market
 4
     communication mechanisms, including through regular dissemination of press releases on the
 5
     national circuits of major newswire services and through other wide-ranging public disclosures,
 6
     such as communications with the financial press and other similar reporting services; and/or
 7

 8          (d)     Allbirds was followed by securities analysts employed by brokerage firms who

 9   wrote reports about the Company, and these reports were distributed to the sales force and certain
10   customers of their respective brokerage firms. Each of these reports was publicly available and
11
     entered the public marketplace.
12
            272.    As a result of the foregoing, the market for Allbirds’ securities promptly digested
13
     current information regarding Allbirds from all publicly available sources and reflected such
14

15   information in Allbirds’ share price. Under these circumstances, all purchasers of Allbirds’

16   securities during the Class Period suffered similar injury through their purchase of Allbirds’

17   securities at artificially inflated prices and a presumption of reliance applies.
18          273.    A Class-wide presumption of reliance is also appropriate in this action under the
19
     Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),
20
     because the Class’s claims are, in large part, grounded on Defendants’ material misstatements
21
     and/or omissions. Because this action involves Defendants’ failure to disclose material adverse
22

23   information regarding the Company’s business operations and financial prospects—information

24   that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

25   recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable
26
     investor might have considered them important in making investment decisions. Given the
27

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 1   importance of the Class Period material misstatements and omissions set forth above, that

 2   requirement is satisfied here.
 3
                                  UNDISCLOSED ADVERSE FACTS
 4
            274.    The market for Allbirds’ securities was open, well-developed, and efficient at all
 5
     relevant times. As a result of these materially false and/or misleading statements, and/or failures
 6
     to disclose, Allbirds’ securities traded at artificially inflated prices during the Class Period.
 7

 8   Plaintiffs and other members of the Class purchased or otherwise acquired Allbirds’ securities

 9   relying upon the integrity of the market price of the Company’s securities and market information
10   relating to Allbirds, and have been damaged thereby.
11
            275.    During the Class Period, Defendants materially misled the investing public,
12
     thereby inflating the price of Allbirds’ securities, by publicly issuing false and/or misleading
13
     statements and/or omitting to disclose material facts necessary to make Defendants’ statements,
14

15   as set forth herein, not false and/or misleading. The statements and omissions were materially

16   false and/or misleading because they failed to disclose material adverse information and/or

17   misrepresented the truth about Allbirds’ business, operations, and prospects as alleged herein.
18          276.    At all relevant times, the material misrepresentations and omissions particularized
19
     in this Complaint directly or proximately caused or were a substantial contributing cause of the
20
     damages sustained by Plaintiffs and other members of the Class. As described herein, during the
21
     Class Period, Defendants made or caused to be made a series of materially false and/or
22

23   misleading statements about Allbirds’ financial well-being and prospects.          These material

24   misstatements and/or omissions had the cause and effect of creating in the market an

25   unrealistically positive assessment of the Company and its financial well-being and prospects,
26
     thus causing the Company’s securities to be overvalued and artificially inflated at all relevant
27

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 1   times. Defendants’ materially false and/or misleading statements during the Class Period resulted

 2   in Plaintiffs and other members of the Class purchasing the Company’s securities at artificially
 3
     inflated prices, thus causing the damages complained of herein when the truth was revealed.
 4
                                           LOSS CAUSATION
 5
            277.    Defendants’ wrongful conduct, as alleged herein, directly and proximately caused
 6
     the economic loss suffered by Plaintiffs and the Class.
 7

 8          278.    During the Class Period, Plaintiffs and the Class purchased Allbirds’ securities at

 9   artificially inflated prices and were damaged thereby. The price of the Company’s securities
10   significantly declined when the misrepresentations made to the market, and/or the information
11
     alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,
12
     causing investors’ losses.
13
                                          NO SAFE HARBOR
14

15          279.    The statutory safe harbor provided for forward-looking statements under certain

16   circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

17   The statements alleged to be false and misleading herein all relate to then-existing facts and
18   conditions. In addition, to the extent certain of the statements alleged to be false may be
19
     characterized as forward looking, they were not identified as “forward-looking statements” when
20
     made and there were no meaningful cautionary statements identifying important factors that
21
     could cause actual results to differ materially from those in the purportedly forward-looking
22

23   statements. In the alternative, to the extent that the statutory safe harbor is determined to apply

24   to any forward-looking statements pleaded herein, Defendants are liable for those false forward-

25   looking statements because at the time each of those forward-looking statements was made, the
26
     speaker had actual knowledge that the forward-looking statement was materially false or
27

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 1   misleading, and/or the forward-looking statement was authorized or approved by an executive

 2   officer of Allbirds who knew that the statement was false when made.
 3
                                                  COUNT I
 4
        (Violations of Section 11 of the Securities Act Against the Securities Act Defendants)
 5
             280.    Plaintiffs repeat and re-allege each and every allegation contained above as if fully
 6
     set forth herein.
 7

 8           281.    This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C. §

 9   77k, on behalf of the Class, against the Defendants.
10           282.    This Count does not allege, and does not intend to allege, fraud or fraudulent
11
     intent, which is not a required element of Section 11. Any allegation or implication of fraud or
12
     fraudulent intent is hereby expressly disclaimed and not incorporated by reference in this Count.
13
             283.    The Registration Statement for the IPO was inaccurate and misleading, contained
14

15   untrue statements of material facts, omitted to state other facts necessary to make the statements

16   made not misleading, and omitted to state material facts required to be stated therein.

17           284.    Allbirds is the registrant for the IPO.      The Defendants named herein were
18   responsible for the contents and dissemination of the Registration Statement.
19
             285.    The Underwriter Defendants marketed and underwrote the IPO and sold the
20
     majority of Allbirds Class A common stock issued in the IPO to the Securities Act Class.
21
             286.    The Securities Act Defendants are strictly liable to Plaintiffs and the Class for the
22

23   misstatements and omissions.

24           287.    None of the Defendants named herein made a reasonable investigation or

25   possessed reasonable grounds for the belief that the statements contained in the Registration
26
     Statement were true and without omissions of any material facts and were not misleading.
27

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 1             288.   By reasons of the conduct herein alleged, each Defendant violated, and/or

 2   controlled a person who violated Section 11 of the Securities Act.
 3
               289.   Plaintiffs acquired Allbirds shares pursuant and/or traceable to the Registration
 4
     Statement for the IPO.
 5
               290.   Plaintiffs and the Class have sustained damages. The value of Allbirds Class
 6
     A common stock has declined substantially subsequent to and due to the Defendants’ violations
 7

 8                                                COUNT II

 9       (Violations of Section 15 of the Securities Act Against the Securities Act Individual
                                              Defendants)
10
               291.   Plaintiffs repeat and re-allege each and every allegation contained above as if fully
11

12   set forth herein.

13             292.   This Count is asserted against the Individual Defendants and is based upon

14   Section 15 of the Securities Act.
15             293.   The Individual Defendants, by virtue of their offices, directorship, and specific
16
     acts were, at the time of the wrongs alleged herein and as set forth herein, controlling persons of
17
     Allbirds within the meaning of Section 15 of the Securities Act. The Individual Defendants had
18
     the power and influence and exercised the same to cause Allbirds to engage in the acts described
19

20   herein.

21             294.   The Individual Defendants’ positions made them privy to and provided them with

22   actual knowledge of the material facts concealed from Plaintiffs and the Class.
23
               295.   By virtue of the conduct alleged herein, the Individual Defendants are liable for
24
     the aforesaid wrongful conduct and are liable to Plaintiffs and the Class for damages suffered.
25

26
27

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 1                                                COUNT III

 2   (Violations of Section 10(b) of the Exchange Act and Rule 10b-5 Promulgated Thereunder
                   Against Allbirds and the Exchange Act Individual Defendants)
 3
             296.     Plaintiffs repeat and re-allege each and every allegation contained above as if fully
 4

 5   set forth herein.

 6           297.     During the Class Period, Defendants carried out a plan, scheme and course of
 7   conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing
 8
     public, including Plaintiffs and other Class members, as alleged herein; and (ii) cause Plaintiffs
 9
     and other members of the Class to purchase Allbirds’ securities at artificially inflated prices. In
10
     furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,
11

12   took the actions set forth herein.

13           298.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

14   untrue statements of material fact and/or omitted to state material facts necessary to make the
15   statements not misleading; and (iii) engaged in acts, practices, and a course of business which
16
     operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to
17
     maintain artificially high market prices for Allbirds’ securities in violation of Section 10(b) of
18
     the Exchange Act and Rule 10b-5 promulgated thereunder. Defendants are sued either as primary
19

20   participants in the wrongful and illegal conduct charged herein or as controlling persons as

21   alleged below.

22           299.     Defendants, individually and in concert, directly and indirectly, by the use, means
23
     or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a
24
     continuous course of conduct to conceal adverse material information about Allbirds’ financial
25
     wellbeing and prospects, as specified herein.
26
27

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 1          300.     Defendants employed devices, schemes and artifices to defraud, while in

 2   possession of material adverse non-public information and engaged in acts, practices, and a
 3
     course of conduct as alleged herein in an effort to assure investors of Allbirds’ value and
 4
     performance and continued substantial growth, which included the making of, or the participation
 5
     in the making of, untrue statements of material facts and/or omitting to state material facts
 6
     necessary in order to make the statements made about Allbirds and its business operations and
 7

 8   future prospects in light of the circumstances under which they were made, not misleading, as

 9   set forth more particularly herein, and engaged in transactions, practices and a course of business
10   which operated as a fraud and deceit upon the purchasers of the Company’s securities during the
11
     Class Period.
12
            301.     Each of the Individual Defendants’ primary liability and controlling person
13
     liability arises from the following facts: (i) the Individual Defendants were high-level executives
14

15   and/or directors at the Company during the Class Period and members of the Company’s

16   management team or had control thereof; (ii) each of these defendants, by virtue of their

17   responsibilities and activities as a senior officer and/or director of the Company, was privy to and
18   participated in the creation, development and reporting of the Company’s internal budgets, plans,
19
     projections and/or reports; (iii) each of these defendants enjoyed significant personal contact and
20
     familiarity with the other defendants and was advised of, and had access to, other members of
21
     the Company’s management team, internal reports and other data and information about the
22

23   Company’s finances, operations, and sales at all relevant times; and (iv) each of these defendants

24   was aware of the Company’s dissemination of information to the investing public which they

25   knew and/or recklessly disregarded was materially false and misleading.
26
27

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 1          302.    Defendants had actual knowledge of the misrepresentations and/or omissions of

 2   material facts set forth herein, or acted with reckless disregard for the truth in that they failed to
 3
     ascertain and to disclose such facts, even though such facts were available to them. Such
 4
     defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and
 5
     for the purpose and effect of concealing Allbirds’ financial well-being and prospects from the
 6
     investing public and supporting the artificially inflated price of its securities. As demonstrated
 7

 8   by Defendants’ overstatements and/or misstatements of the Company’s business, operations,

 9   financial well-being, and prospects throughout the Class Period, Defendants, if they did not have
10   actual knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to
11
     obtain such knowledge by deliberately refraining from taking those steps necessary to discover
12
     whether those statements were false or misleading.
13
            303.    As a result of the dissemination of the materially false and/or misleading
14

15   information and/or failure to disclose material facts, as set forth above, the market price of

16   Allbirds’ securities was artificially inflated during the Class Period. In ignorance of the fact that

17   market prices of the Company’s securities were artificially inflated, and relying directly or
18   indirectly on the false and misleading statements made by Defendants, or upon the integrity of
19
     the market in which the securities trade, and/or in the absence of material adverse information
20
     that was known to or recklessly disregarded by Defendants, but not disclosed in public statements
21
     by Defendants during the Class Period, Plaintiffs and the other members of the Class acquired
22

23   Allbirds’ securities during the Class Period at artificially high prices and were damaged thereby.

24          304.    At the time of said misrepresentations and/or omissions, Plaintiffs and other

25   members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiffs
26
     and the other members of the Class and the marketplace known the truth regarding the problems
27

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 1   that Allbirds was experiencing, which were not disclosed by Defendants, Plaintiffs and other

 2   members of the Class would not have purchased or otherwise acquired their Allbirds securities,
 3
     or, if they had acquired such securities during the Class Period, they would not have done so at
 4
     the artificially inflated prices which they paid.
 5
             305.    By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange
 6
     Act and Rule 10b-5 promulgated thereunder.
 7

 8           306.    As a direct and proximate result of Defendants’ wrongful conduct, Plaintiffs and

 9   the other members of the Class suffered damages in connection with their respective purchases
10   and sales of the Company’s securities during the Class Period.
11
                                                 COUNT IV
12
       (Violations of Section 20(a) of the Exchange Act Against the Exchange Act Individual
13                                           Defendants)
14           307.    Plaintiffs repeat and re-allege each and every allegation contained above as if fully
15
     set forth herein.
16
             308.    The Individual Defendants acted as controlling persons of Allbirds within the
17
     meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level
18
     positions and their ownership and contractual rights, participation in, and/or awareness of the
19

20   Company’s operations and intimate knowledge of the false financial statements filed by the

21   Company with the SEC and disseminated to the investing public, the Individual Defendants had
22   the power to influence and control and did influence and control, directly or indirectly, the
23
     decision-making of the Company, including the content and dissemination of the various
24
     statements which Plaintiffs contend are false and misleading. The Individual Defendants were
25
     provided with or had unlimited access to copies of the Company’s reports, press releases, public
26
27   filings, and other statements alleged by Plaintiffs to be misleading prior to and/or shortly after

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 1   these statements were issued and had the ability to prevent the issuance of the statements or cause

 2   the statements to be corrected.
 3
            309.    In particular, the Individual Defendants had direct and supervisory involvement
 4
     in the day-to-day operations of the Company and, therefore, had the power to control or influence
 5
     the particular transactions giving rise to the securities violations as alleged herein, and exercised
 6
     the same.
 7

 8          310.    As set forth above, Allbirds and the Individual Defendants each violated Section

 9   10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder by their acts and omissions
10   as alleged in this Complaint. By virtue of their position as controlling persons, the Individual
11
     Defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate
12
     result of Defendants’ wrongful conduct, Plaintiffs and other members of the Class suffered
13
     damages in connection with their purchases of the Company’s securities during the Class Period.
14

15                                       PRAYER FOR RELIEF

16            WHEREFORE, Plaintiffs pray for relief and judgment as follows:

17          A.      Determining that this action is a proper class action under Rule 23 of the Federal
18   Rules of Civil Procedure;
19
            B.      Awarding compensatory damages in favor of Plaintiffs and the other Class
20
     members against all defendants, jointly and severally, for all damages sustained as a result of
21
     Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;
22

23          C.      Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

24   this action, including counsel fees and expert fees; and

25          D.      Such other and further relief as the Court may deem just and proper.
26
27

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 1                               DEMAND FOR TRIAL BY JURY

 2         Plaintiffs hereby demand a trial by jury.
 3
     Dated: September 15, 2023                   Respectfully submitted,
 4
                                                 POMERANTZ LLP
 5
                                                 /s/ Tamar A. Weinrib
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25

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